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                            In the Matter of:

                      BRENDA SWEETLAND

                                    vs.

                  WHEELABRATOR SAUGUS




                            JOHN COOPER

                          December 13, 2022
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· · · · · · · · · · · · · · · · ·VOLUME:                  I
· · · · · · · · · · · · · · · · ·PAGES:· 1 - 93
· · · · · · · · · · · · · · · · ·EXHIBITS:· 1 - 5
· · · · · · · ·UNITED STATES DISTRICT COURT
· · · · · · ·FOR THE DISTRICT OF MASSACHUSETTS
· · · · · · · · · · · · · · · NO. 1:21-CV-10759-LTS
· · ·- - - - - - - - - - - - - - - - - - x
· · ·BRENDA SWEETLAND, on behalf of herself
· · ·and all others similarly situated,
· · · · · · Plaintiff
· · · vs.
· · ·WHEELABRATOR SAUGUS, INC.,
· · · · · · Defendant
· · ·- - - - - - - - - - - - - - - - - - x
· · · · · · ·DEPOSITION OF JOHN COOPER, a witness
· · ·called on behalf of the Plaintiff, taken
· · ·pursuant to notice before Robert M. Bramanti,
· · ·Certified Shorthand Reporter, Registered Merit
· · ·Reporter and Notary Public in and for the
· · ·Commonwealth of Massachusetts, at the offices of
· · ·Colonna, Doyle & Simeola, 26 Main Street, third
· · ·floor, Lynnfield, Massachusetts, on Tuesday,
· · ·December 13, 2022, commencing at 12:26 p.m.
· · · · · · · · · · · __________
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                                                    2                                                         4
·1· ·APPEARANCES:
                                                        ·1· · · · · · P R O C E E D I N G S
·2
· · · Matthew Z. Robb, Esq.
                                                        ·2
·3· · Liddle Sheets Coulson P.C.                        ·3· · · · · JOHN COOPER, a witness called for
· · · 975 E. Jefferson Avenue                           ·4· ·examination by counsel for the Plaintiff, having
·4· · Detroit, Michigan 48207
· · · 313.392.0015/mrobb@lsccounsel.com
                                                        ·5· ·been first satisfactorily identified by his
·5· · Present via Zoom Videoconferencing                ·6· ·Massachusetts driver's license, was duly sworn,
·6                                                      ·7· ·was examined, and testified as follows:
· · · Richard A. Oetheimer, Esq.
                                                        ·8
·7· · Goodwin Procter LLP
· · · 100 Northern Avenue
                                                        ·9· · · · · MR. ROBB:· Good afternoon, Mr. Cooper.
·8· · Boston, Massachusetts 02210                       10· ·My name is Matthew Robb.· I'm plaintiff's
· · · 617.570.1259/roetheimer@goodwinlaw.com            11· ·counsel in the matter of Brenda Sweetland v
·9· · Attorney for the Defendant
· · · Present in person
                                                        12· ·Wheelabrator Saugus, civil action pending before
10                                                      13· ·the United States District Court for the
11                                                      14· ·District of Massachusetts, case No.
12
                                                        15· ·121-CV-10759.
13
14
                                                        16· · · · · Richard, would like to make your
15                                                      17· ·appearance?
16                                                      18· · · · · MR. OETHEIMER:· Yes.· My name is Richard
17
18
                                                        19· ·Oetheimer.· I'm counsel for the defendant,
19                                                      20· ·Wheelabrator Saugus.
20                                                      21· · · · · And by the way, the witness's name is
21
                                                        22· ·Cooper, C-o-o-p-e-r.· Not C-o-p-p-e-r, right?
22
23                                                      23· · · · · THE WITNESS:· That's right.
24                                                      24

                                                    3                                                             5
·1· · · · · · · · · · · · I N D E X                     ·1· · · · Examination by Mr. Robb:
·2· ·Deposition of:· · · · · · · · · · · · · Page       ·2· ·Q.· ·Mr. Cooper, this is a deposition.· Have you ever
·3· ·JOHN COOPER                                        ·3· · · · had your deposition taken before?
·4· · Examination by Mr. Robb· · · · · · · · · 5        ·4· ·A.· ·I don't think so.
·5· · Examination by Mr. Oetheimer· · · · · · 77        ·5· ·Q.· ·Would you go ahead and state and spell your name
·6                                                      ·6· · · · for the record.
·7                                                      ·7· ·A.· ·My name is John Cooper, J-o-h-n, C-o-o-p-e-r.
·8                                                      ·8· ·Q.· ·Great.· This is just a question and answer
·9                                                      ·9· · · · session.
10                                                      10· ·A.· ·Yeah.
11· · · · · · · · · · · ·------                         11· ·Q.· ·We are both attorneys, but neither one of us
12                                                      12· · · · represents you in this case.· Do you understand
13· · · · · · · · · · E X H I B I T S                   13· · · · that?
14· ·No.· · · · · · · · · · · · · · · · · · ·Page       14· ·A.· ·I think so, yeah.
15· ·1· · · Deposition Subpoena· · · · · · · ·12        15· ·Q.· ·Okay.· All right.· When you walked in, you said
16· ·2· · · Declaration, 6/19/22· · · · · · · 34        16· · · · that Anthony Cogliano sent you; is that right?
17· ·3· · · Declaration, 8/22/22· · · · · · · 42        17· · · · · · · ·MR. OETHEIMER:· Objection.· I wasn't
18· ·4· · · Map Bristow Street· · · · · · · · 77        18· · · · here.· So I don't know if he said it, but you
19· ·5· · · Google Earth Photo· · · · · · · · 77        19· · · · can answer.
20                                                      20· ·A.· ·No, I was --
21                                                      21· · · · · · · ·MR. OETHEIMER:· When I say "objection,"
22                                                      22· · · · that's for the record.
23                                                      23· · · · · · · ·THE WITNESS:· Yeah.
                                                           YVer1f




24                                                      24· · · · · · · ·MR. OETHEIMER:· You can answer Mr. Robb's

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·1· · · · question.· If you don't understand them, you can ·1· · · · · · · ·I'm just asking, you know, what Anthony
·2· · · · say you don't understand and you can ask him for ·2· · · · told you about what to expect today?
·3· · · · clarification.                                   ·3· · · · · · · ·MR. OETHEIMER:· Right.· And objection.
·4· · · · · · · ·But my objection, I'm not your counsel,   ·4· · · · Because I don't know if he told him anything.
·5· · · · so I'm not telling you not to answer the         ·5· · · · But if he did, you should answer.
·6· · · · question.· Okay?· I just want to make sure you   ·6· ·A.· ·Are the questions on that paper?· He asked me
·7· · · · understand that.                                 ·7· · · · four questions.· He asked me -- I don't know how
·8· ·A.· ·I don't mind answering the question.· I was      ·8· · · · many months ago it was, a couple months ago.· Do
·9· · · · asked by Anthony Cogliano and somebody else who ·9· · · · I get any soot on my cars?· Do I have anything
10· · · · called up on the phone to ask if I would come to 10· · · · blowing around the air in my driveway?· Does the
11· · · · this place and answer a few questions.· That's   11· · · · Wheelabrator noise bother us?· And I forget the
12· · · · why I'm here to answer a few questions on their  12· · · · other question.· He asked me something else.
13· · · · behalf.                                          13· ·Q.· ·I'm just asking if he asked you to come here
14· ·Q.· ·Okay.· When did Anthony call you?                14· · · · today?
15· ·A.· ·He didn't call me.· I talked to him live.· He's, 15· ·A.· ·Yeah.
16· · · · like, at my house right now working in my -- in  16· ·Q.· ·What did he tell you?· Did he tell you anything
17· · · · one of my rooms.· Well, his help is.· He was     17· · · · about why you were coming here today?
18· · · · there.                                           18· ·A.· ·Well, he didn't ask me to come here today.· He
19· ·Q.· ·You talked with him in person.· What did he tell 19· · · · asked me that I might end up getting a call to
20· · · · you?                                             20· · · · get -- to answer some questions.· And I said
21· ·A.· ·Huh?                                             21· · · · yeah, sure.· I will go answer them.· But that
22· ·Q.· ·You talked to him in person today?               22· · · · wasn't today.· Today he was over there doing,
23· ·A.· ·Yeah.                                            23· · · · you know, construction-type stuff.
24· ·Q.· ·What did he tell you about today and what you    24· ·Q.· ·When did Anthony talk to you about coming to

                                                           7                                                          9
·1· · · · were doing?                                            ·1· · · · answer some questions?
·2· · · · · · · ·MR. OETHEIMER:· Objection.                      ·2· · · · · · · ·MR. OETHEIMER:· Objection.
·3· ·A.· ·Objection?                                             ·3· ·A.· ·I can't say exactly when.
·4· · · · · · · ·MR. OETHEIMER:· You can answer.                 ·4· ·Q.· ·You said that some other person called you to
·5· · · · Foundation.· I don't know if you had a                 ·5· · · · tell you to show up today; is that right?
·6· · · · conversation today, so I make an objection.· But       ·6· ·A.· ·No, he asked me to.
·7· · · · answer the question to the best of your ability.       ·7· ·Q.· ·Who was that?
·8· ·A.· ·Okay.· Am I supposed to answer questions of            ·8· ·A.· ·I know the guy's name is Jack.· Hold on a
·9· · · · everyday life or am I supposed to answer               ·9· · · · second, one second.· Let me see if I can find
10· · · · questions about the Wheelabrator?                      10· · · · that.· He only called me a couple days ago.
11· · · · · · · ·MR. OETHEIMER:· Well, you are answering         11· · · · · · · ·Do you have a guy Jack that helps you
12· · · · questions about Wheelabrator.· But right now you       12· · · · guys out?
13· · · · are answering Attorney Robb's questions and when       13· · · · · · · ·MR. OETHEIMER:· You are here to answer
14· · · · he's done, I may ask you questions.                    14· · · · the questions.· If you can --
15· ·A.· ·It has nothing do with Wheelabrator.· He's doing       15· ·A.· ·I don't know his last name.
16· · · · some construction in my house.                         16· · · · · · · ·MR. OETHEIMER:· If you can find it, you
17· ·Q.· ·Okay.· Just to be clear, I'm the attorney that         17· · · · can answer.
18· · · · called for your deposition to be taken here            18· ·A.· ·Okay.· This is easier right here.· Jack.
19· · · · today because of some statements that were             19· ·Q.· ·Mr. Cooper, if you can just read what you are
20· · · · provided to us by defense counsel at                   20· · · · trying to show us because all of the information
21· · · · Wheelabrator that had your name on it or one of        21· · · · is being written down so we can't tell what you
22· · · · them was misspelled, but it had your name on it.       22· · · · are saying unless you say it out loud.
23· · · · I'm trying to get to the bottom of those               23· ·A.· ·Okay.· This text here says, "John, Anthony
                                                                    YVer1f




24· · · · declarations and how they came to us.                  24· · · · Cogliano's friend.· Can you call me.· Just left

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                                                                                                              10..13
                                                        10                                                           12
·1· · · · you a voice message.· Many thanks.· Jack."         ·1· · · · · · · ·MR. ROBB:· I'm going to introduce this
·2· ·Q.· ·Okay.· Did you call him back?                      ·2· · · · for our reference as Exhibit 1.
·3· ·A.· ·I did.                                             ·3· · · · · · · · · · (Deposition Exhibit No. 1
·4· ·Q.· ·What did Jack tell you?                            ·4· · · · · · · · · · ·marked for identification.)
·5· ·A.· ·He asked me if I would come answer a few           ·5· ·Q.· ·Do you see that it has the name John Copper, 44
·6· · · · questions for Anthony at this place right here.    ·6· · · · Bristow Street, Saugus, Massachusetts?
·7· · · · Then he sent me the address.                       ·7· ·A.· ·Yes.
·8· ·Q.· ·Okay.· So that's how you knew to come today at     ·8· ·Q.· ·That isn't your name, correct?
·9· · · · this time?                                         ·9· ·A.· ·No, that's not my name and that's not my
10· ·A.· ·Yes.                                               10· · · · address.
11· ·Q.· ·Do you know who Jack is other than Anthony's       11· ·Q.· ·Okay.· What is your address?
12· · · · friend?                                            12· ·A.· ·45.
13· ·A.· ·No.· But I guess he left me a voice message. I     13· ·Q.· ·45 Bristow Street?
14· · · · don't remember if I kept it or not.· You want me   14· ·A.· ·Yes.· That must be across the street.
15· · · · to see if I -- oh, no.· No.· I erased that.        15· ·Q.· ·And your last name is Cooper, not Copper,
16· ·Q.· ·Do you know who Jack works for?                    16· · · · correct?
17· ·A.· ·No.· I thought he said he was part of the          17· ·A.· ·Yes.
18· · · · Wheelabrator thing.· But I can't say that for      18· ·Q.· ·Is that correct?
19· · · · sure.· I think that's what he said.                19· ·A.· ·Yeah, John Cooper, 45 Bristow Street.
20· ·Q.· ·Before that text message, had you ever talked to   20· ·Q.· ·Okay.· You see that the subpoena asks you to
21· · · · Jack before?                                       21· · · · appear at Colonna & Doyle, 26 Main Street, third
22· ·A.· ·Yeah -- let me see.· Sorry.· This is a new         22· · · · floor, Lynnfield, Massachusetts.· Is that where
23· · · · phone.· Hold on a second.· Well, I got a number    23· · · · you are right now?
24· · · · here, December 9th, (508)498-2506, and then I've   24· ·A.· ·Yeah.· I think so.

                                                     11                                                              13
·1· · · · got the same number over here today,             ·1· ·Q.·   ·Okay.
·2· · · · (508)498-2506.                                   ·2· ·A.· ·Is that this place?
·3· · · · · · · ·But the message he left me today was -- I ·3· · · · · · · ·MR. OETHEIMER:· It is.
·4· · · · didn't talk to him -- was, "I hope you are       ·4· ·Q.· ·December 8, 2022, at 11 a.m.· You did not appear
·5· · · · showing up at 12, 12:30" at this location, "and  ·5· · · · on December 8th at 11 a.m., right?
·6· · · · if I don't hear back from you, that means that   ·6· · · · · · · ·MR. OETHEIMER:· Objection.
·7· · · · you will be coming here."                        ·7· ·A.· ·I never received that picture you got up there
·8· · · · · · · ·MR. OETHEIMER:· Okay.                     ·8· · · · either.
·9· ·A.· ·I'm here.· But I didn't -- the reason I erase a  ·9· · · · · · · ·MR. OETHEIMER:· It was obviously served
10· · · · lot of useless phone message is because once I 10· · · · at a different address, Matt.· I don't know.· We
11· · · · play them, it takes me 20 minutes to go through 11· · · · contacted him to ask him to come in.
12· · · · all the other messages that are stored.· So I    12· ·Q.· ·Is this the first time that you are seeing the
13· · · · don't want to have to answer one voice mail and 13· · · · subpoena?
14· · · · wait 15 minutes for this machine to keep going 14· ·A.· ·Yes.
15· · · · through.                                         15· ·Q.· ·Okay.· Am I correct that today is December 13th,
16· ·Q.· ·Okay.· I understand.                             16· · · · at 12:37 p.m.?
17· · · · · · · ·Mr. Cooper, I'm going to show you a       17· ·A.· ·Yeah.· Yeah.
18· · · · document on my screen.· Let me know if you have 18· ·Q.· ·As I understand, you showed up today because you
19· · · · any trouble seeing it.· Okay?                    19· · · · talked to Jack and Anthony about showing up,
20· ·A.· ·Okay.                                            20· · · · right?
21· ·Q.· ·I will represent to you that this was a subpoena 21· ·A.· ·Yes.
22· · · · that was sent to your residence.· Can you see    22· ·Q.· ·Thanks.· I just want to get clarity on how your
23· · · · this document?                                   23· · · · appearance was arranged.
                                                                YVer1f




24· ·A.· ·Yeah.                                            24· · · · · · · ·Have you ever talked to the man across

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                                                                                                                   14..17
                                                           14                                                              16
·1· · · · from you, Richard Oetheimer, before?                  ·1· · · · keep the plant open?
·2· · · · · · · ·MR. OETHEIMER:· Me.· That's me.                ·2· · · · · · · ·MR. OETHEIMER:· Objection.
·3· ·A.· ·No.                                                   ·3· ·A.· ·It doesn't bother me either way.
·4· ·Q.· ·Is this the first time you've ever talked to him      ·4· ·Q.· ·All right.· I will represent to you that the
·5· · · · or met him?                                           ·5· · · · case that we are dealing with right now is a
·6· ·A.· ·Yes.· I tried calling him back one day but there      ·6· · · · class action on behalf of residents in the
·7· · · · was no answer.                                        ·7· · · · Saugus community who have been complaining about
·8· ·Q.· ·I introduced to you in the beginning that this        ·8· · · · odors and dust from the facility and they are
·9· · · · is in relation to a lawsuit.· Had you ever heard      ·9· · · · seeking damages from the company for
10· · · · about a lawsuit against Wheelabrator --               10· · · · interference with property values and
11· ·A.· ·No.                                                   11· · · · interference with the use and enjoyment of
12· ·Q.· ·-- before today?                                      12· · · · property.
13· ·A.· ·No.                                                   13· · · · · · · ·There's no allegation in the complaint of
14· ·Q.· ·No?                                                   14· · · · trying to shut the plant down or revoke its
15· ·A.· ·No.                                                   15· · · · permit or anything like that.· Okay?
16· ·Q.· ·Do you have any understanding about what the          16· · · · · · · ·MR. OETHEIMER:· Before that, I'm going to
17· · · · lawsuit is about?                                     17· · · · object, Matt.
18· ·A.· ·No.                                                   18· · · · · · · ·Right now this is a lawsuit brought by
19· ·Q.· ·Do you know what a class action is?                   19· · · · one plaintiff on behalf of a punitive class.
20· ·A.· ·I'm not sure.· Class action, it's like, you           20· · · · You were speaking in the plural.· It is not a
21· · · · know, when they come on TV and tell you that you      21· · · · lawsuit brought by multiple residents in the
22· · · · could collect thousands of dollars if you had         22· · · · Saugus neighborhood.· Not yet.
23· · · · cancer from the Marines 40 years ago.· Yeah,          23· ·Q.· ·(By Mr. Robb) That's correct.· Just for clarity,
24· · · · that's a class action lawsuit.· Yeah.                 24· · · · I don't want, Mr. Cooper, you to misunderstand

                                                          15                                                             17
·1· ·Q.· ·You've heard of a class action, but you don't         ·1· · · · what we are saying.· That someone brought this
·2· · · · really know what they are?                            ·2· · · · lawsuit, one of your neighbors, Brenda
·3· ·A.· ·Yeah, they are lawyers who find something and         ·3· · · · Sweetland, and she's trying to represent a
·4· · · · they go and try and make other people money for       ·4· · · · community who has similar issues with the
·5· · · · it.· As far as I can tell.                            ·5· · · · facility.· I just wanted to let you know so,
·6· ·Q.· ·Today is the first time that you learned about        ·6· · · · that, you know, word doesn't get around too fast
·7· · · · this lawsuit?                                         ·7· · · · that somebody is trying to shut the plant down.
·8· ·A.· ·Yeah.· I didn't even know it was a lawsuit. I         ·8· · · · All right?
·9· · · · thought, from what my understanding was, there        ·9· · · · · · · ·MR. OETHEIMER:· Okay.
10· · · · was one group that wanted to close the thing          10· ·A.· ·What neighborhood is that?
11· · · · down and one group wants to keep it open.             11· ·Q.· ·I'm sorry?
12· ·Q.· ·Which side are you on?                                12· ·A.· ·Oh, I'm not supposed to ask questions?
13· · · · · · · ·MR. OETHEIMER:· Objection.                     13· · · · · · · ·MR. OETHEIMER:· You can questions.· He
14· · · · · · · ·Again, my objection is for the record.         14· · · · doesn't necessarily have to answer them.· His
15· · · · I'm not telling you not to answer the question,       15· · · · question was what neighborhood is it?
16· · · · whether you can answer it or not.                     16· ·Q.· ·I just said, All right.· I wanted to make sure
17· · · · · · · ·You don't have to be on any side, but          17· · · · you understood.
18· · · · basically you answer the questions as you see         18· ·A.· ·Okay.
19· · · · fit.· I will object to the question.                  19· ·Q.· ·Am I correct that nobody has ever talked to you
20· · · · · · · ·MR. ROBB:· I object to coaching the            20· · · · about this lawsuit before today?
21· · · · witness on the answer.· I'm just asking --            21· ·A.· ·It wasn't --
22· · · · · · · ·MR. OETHEIMER:· He's here to answer            22· · · · · · · ·MR. OETHEIMER:· Objection.· Foundation.
23· · · · questions about facts.                                23· · · · Sort of asked and answered.· But go ahead.· I'm
                                                                   YVer1f




24· ·Q.· ·(By Mr. Robb) Are you on the side that wants to       24· · · · making objections -- you seem confused.· Let me

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                                                           18                                                           20
·1· · · · just say again, I'm making my sort of                 ·1· · · · just for the record.
·2· · · · objections, doing my sort of lawyer thing for         ·2· · · · · · · ·MR. OETHEIMER:· Which I've said myself.
·3· · · · the record.                                           ·3· ·Q.· ·Okay.· My question was, have you ever heard
·4· · · · · · · ·THE WITNESS:· I get it.                        ·4· · · · about people making complaints about the
·5· · · · · · · ·MR. OETHEIMER:· It doesn't affect you.         ·5· · · · Wheelabrator facility?
·6· · · · You can listen to the question and try to             ·6· ·A.· ·Yes.
·7· · · · answer.                                               ·7· ·Q.· ·What kind of complaints have you heard people
·8· ·A.· ·It has never been approached to me as a lawsuit.      ·8· · · · making?
·9· ·Q.· ·Okay.· Are you aware of any meetings that have        ·9· ·A.· ·Just like you stated, I don't know, whatever
10· · · · been held regarding the Wheelabrator facility or      10· · · · neighborhood that is, they were making
11· · · · people's experiences with odor and dust in the        11· · · · complaints about the smell and the dust and
12· · · · community?                                            12· · · · whatever it's creating in that area.· I'm not
13· · · · · · · ·MR. OETHEIMER:· Objection.                     13· · · · sure where that area is.
14· ·A.· ·I know that --                                        14· ·Q.· ·You understand that there's been a meeting down
15· · · · · · · ·MR. OETHEIMER:· Again, give me a minute        15· · · · at town hall where people can debate the issue
16· · · · to -- I'm throwing you off.· I will try to be         16· · · · of odors and dust?
17· · · · quicker.                                              17· · · · · · · ·MR. OETHEIMER:· Objection.
18· · · · · · · ·Objection for the record.                      18· ·A.· ·I understand that there was a meeting at the
19· · · · · · · ·Now you can answer the question.· I don't      19· · · · town hall debating keeping the Wheelabrator or
20· · · · know if you need to hear it back again.               20· · · · trying to shut it down.
21· · · · · · · ·THE WITNESS:· No, I heard it.                  21· ·Q.· ·Okay.
22· · · · · · · ·MR. OETHEIMER:· Okay.· Go ahead.               22· ·A.· ·Can you hear me all right?
23· ·A.· ·From what I understand, that they -- town hall        23· ·Q.· ·You said you know Anthony Cogliano.· In fact,
24· · · · had a meeting for people to go and debate about       24· · · · he's at your house right now?

                                                       19                                                          21
·1· · · · it.· The word "lawsuit" still never came up to   ·1· ·A.·  ·No,   he's not.· Some of his guys are.
·2· · · · me.                                              ·2· ·Q.· ·Okay.· What's the nature of the work that his
·3· ·Q.· ·All right.· Have you experienced people having ·3· · · · guys are doing at your house?
·4· · · · complaints about the Wheelabrator facility       ·4· ·A.· ·Right now they are, I would say, taking down --
·5· · · · before?                                          ·5· · · · well, I'm not sure because I'm not there.
·6· · · · · · · ·MR. OETHEIMER:· Objection.                ·6· · · · Usually I'm there to watch them because of my
·7· ·Q.· ·Let me be really clear here.· Mr. Oetheimer is ·7· · · · 13-year-old Shepherd.· I don't like leaving him
·8· · · · not your coach.· This is -- I'm going to ask the ·8· · · · alone when there's workers in the house. I
·9· · · · questions and you will answer them.· Then        ·9· · · · think they are working on the ceiling.
10· · · · Mr. Oetheimer will ask you some questions        10· ·Q.· ·Okay.· Does Anthony have a company or something
11· · · · afterwards.· Okay?                               11· · · · that does construction work?
12· · · · · · · ·MR. OETHEIMER:· Matt, I'm going to        12· ·A.· ·Uh-huh.
13· · · · object.· All I said is "objection."· That's not  13· · · · · · · ·MR. OETHEIMER:· You need to say yes.
14· · · · coaching.                                        14· ·Q.· ·Is that a yes?
15· · · · · · · ·MR. ROBB:· I understand.                  15· · · · · · · ·MR. OETHEIMER:· He can't take down nods.
16· ·Q.· ·(By Mr. Robb) But every time that I'm asking a 16· ·A.· ·Yes.
17· · · · question, Mr. Cooper, I see you looking over at 17· ·Q.· ·What company did you hire to do that work?
18· · · · Mr. Oetheimer.                                   18· ·A.· ·I don't really know the name of the company.
19· · · · · · · ·MR. OETHEIMER:· I told him several        19· · · · Anthony's.· It's Cogliano -- I don't know. I
20· · · · times --                                         20· · · · forget.· It's on the heading of some of his
21· ·Q.· ·He's not here to coach you or tell you how to 21· · · · papers.
22· · · · answer or anything like that.· I'm going to ask  22· ·Q.· ·Okay.
23· · · · you the questions and I need you to answer me 23· ·A.· ·I can get you that information if you need it.
                                                                   YVer1f




24· · · · directly, and Mr. Oetheimer's objections are     24· ·Q.· ·No problem.

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                                                                                                                   22..25
                                                           22                                                              24
·1· ·A.· ·Yeah.                                                 ·1· · · · Sometimes three times a week.· It depends on how
·2· ·Q.· ·How long have you known Anthony?                      ·2· · · · busy he is and how busy I am.
·3· ·A.· ·I don't know.· A long time.· Ten years.               ·3· ·Q.· ·Is it work-related that you talk that
·4· ·Q.· ·How did you meet?                                     ·4· · · · frequently?
·5· ·A.· ·He's a neighbor of ours around the corner and my      ·5· ·A.· ·No.· Sometimes we just, you know, talking about
·6· · · · son and his brother are about the same age and        ·6· · · · things that -- like he's friends with my wife,
·7· · · · they are friends.· So we just happened to keep        ·7· · · · too.· Sometimes my wife talks to him.
·8· · · · meeting over, like, funerals and then you end up      ·8· ·Q.· ·Does he come over?· Do you guys socialize?
·9· · · · talking to people.· He lives around the corner.       ·9· ·A.· ·Sometimes we go over there.· He don't come over
10· · · · So we would see him a lot.                            10· · · · our house much.
11· · · · · · · ·Then it just went from there.· The more        11· ·Q.· ·Like holiday gatherings and stuff you might go
12· · · · often you see each other, the more you speak,         12· · · · to Anthony's house?
13· · · · the friendlier you get.· That type of thing.          13· ·A.· ·More like a party.· I don't know if I would say
14· ·Q.· ·Is he a friend of yours?                              14· · · · -- we don't know a lot of his family.· It's just
15· ·A.· ·I would consider him a friend of mine, yeah.          15· · · · like a neighborhood group.
16· ·Q.· ·Is Anthony family?                                    16· ·Q.· ·Okay.· When was the first time you ever heard
17· ·A.· ·Is Anthony part of my family?                         17· · · · about this deposition?· Was it that text message
18· ·Q.· ·Yes.                                                  18· · · · you got from Jack?
19· ·A.· ·No.                                                   19· · · · · · · ·MR. OETHEIMER:· Objection.
20· ·Q.· ·Have you ever worked with Anthony Cogliano other      20· ·A.· ·The thing you put up on the screen?
21· · · · than having him do some work on your house?           21· ·Q.· ·Well, I saw that subpoena, but I thought you've
22· ·A.· ·No.· Work with him?· No.                              22· · · · never seen the subpoena before, right?
23· ·Q.· ·Do you have a family that lives with you in your      23· ·A.· ·No.
24· · · · house?                                                24· ·Q.· ·Okay.· When was the first time that you learned

                                                       23                                                           25
·1· ·A.· ·I'm sorry.                                       ·1· · · · about   this deposition, that we wanted you to
·2· ·Q.· ·Do you have family members who live with you in ·2· · · · appear?
·3· · · · your house?                                      ·3· ·A.· ·Oh, this is the deposition right now?
·4· ·A.· ·Yeah, my wife and me and my loyal dog.           ·4· ·Q.· ·Yes.
·5· ·Q.· ·All right.· Do you have any extended family in   ·5· · · · · · · ·MR. OETHEIMER:· Yes.
·6· · · · the town, in Saugus?                             ·6· ·Q.· ·Yeah, this is the deposition.
·7· ·A.· ·No, I don't.                                     ·7· ·A.· ·I don't know.· Maybe a couple of weeks ago.
·8· ·Q.· ·Has any of your family members ever worked with ·8· ·Q.· ·Who first informed you about showing up to
·9· · · · Anthony?                                         ·9· · · · answer some questions at this deposition?
10· ·A.· ·No.                                              10· ·A.· ·Anthony might have.
11· ·Q.· ·Never needed his help down at the city or        11· ·Q.· ·You think that was a couple weeks ago?
12· · · · anything?                                        12· ·A.· ·Yeah.· Yeah.· I didn't pay too much attention to
13· ·A.· ·No.                                              13· · · · it.
14· ·Q.· ·When is the last time you talked to Anthony?     14· ·Q.· ·Would you say you first heard about it maybe
15· ·A.· ·This morning.                                    15· · · · around December 1st?
16· ·Q.· ·What did you talk about?                         16· · · · · · · ·MR. OETHEIMER:· Objection.
17· ·A.· ·How they were going to approach fixing the       17· ·A.· ·I'm trying to help you out here for a minute.
18· · · · ceiling.                                         18· · · · No.· I think Anthony is the one that might have
19· ·Q.· ·Did you talk about today's deposition at all?    19· · · · mentioned it a little while back.· But then I
20· ·A.· ·No.· All I told him is I got to hurry up.· I got 20· · · · never heard from anybody.
21· · · · to get to this thing that's going on that they   21· ·Q.· ·Would it have been in November?
22· · · · are going to ask me questions.                   22· · · · · · · ·MR. OETHEIMER:· Objection.
23· ·Q.· ·Before that, how often do you and Anthony talk? 23· ·A.· ·It could have been towards the end of November.
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24· ·A.· ·I don't know.· Once a week.· Twice a week.       24· · · · It ain't that long ago.

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·1· ·Q.· ·Okay.· How many times did you talk to Anthony or     ·1· ·Q.· ·Did he tell you what the lawsuit was about?
·2· · · · communicate with Anthony since you first heard       ·2· · · · · · · ·MR. OETHEIMER:· Objection.
·3· · · · about the deposition?                                ·3· ·A.· ·I don't know.· I think I told you a couple of
·4· · · · · · · ·MR. OETHEIMER:· Objection.                    ·4· · · · times, I never knew it was about a lawsuit.· It
·5· ·A.· ·I'm sorry.· Did you say how often did I talk to      ·5· · · · never was mentioned.
·6· · · · him about the deposition?                            ·6· ·Q.· ·Did you have any understanding about the issue
·7· ·Q.· ·Yeah.· How many times did you communicate with       ·7· · · · of odors?· Did he ever talk to you about odors?
·8· · · · Anthony since learning about him wanting you to      ·8· · · · · · · ·MR. OETHEIMER:· Objection.
·9· · · · sit for this deposition?                             ·9· ·A.· ·Odors?
10· · · · · · · ·MR. OETHEIMER:· Objection.                    10· ·Q.· ·Yes, smells.
11· ·A.· ·Well, I talk to him quite a bit, but not about       11· ·A.· ·Yeah.· That was one of the questions he asked
12· · · · the deposition.                                      12· · · · me.· I told him, no, we don't have any smell
13· ·Q.· ·Okay.· How often do you talk?· Since November,       13· · · · where we are, no.
14· · · · how many times have you communicated with            14· ·Q.· ·Did he ever talk to you about dust?
15· · · · Anthony?                                             15· ·A.· ·Yeah.· We don't get any dust.· We get a lot of
16· · · · · · · ·MR. OETHEIMER:· Objection.                    16· · · · pollen.
17· ·A.· ·Well, I talk to Anthony a lot.· Even if I got a      17· ·Q.· ·Do you know if Anthony supports the Wheelabrator
18· · · · question about construction, I might call him up     18· · · · company?
19· · · · for advice.· I don't know where that part is         19· · · · · · · ·MR. OETHEIMER:· Objection.
20· · · · going.                                               20· ·A.· ·Well -- if I had to make an educated guess, I
21· ·Q.· ·Do you know what Anthony Cogliano does for a         21· · · · would say by asking me those questions and
22· · · · living?                                              22· · · · having me sign that paper, he must support
23· ·A.· ·Yeah, he's a councilman, ain't he?· Ain't he a       23· · · · Wheelabrator.
24· · · · councilman?                                          24· ·Q.· ·Okay.

                                                          27                                                              29
·1· ·Q.· ·Well, I mean, I can represent he's a member of       ·1· ·A.· ·In my opinion.· It's just my opinion.
·2· · · · the board of selectmen.                              ·2· ·Q.· ·Did Mr. Cogliano ask you to provide a statement
·3· ·A.· ·Yeah, board of selectmen.                            ·3· · · · about your experiences with the Wheelabrator
·4· ·Q.· ·Do you know of any other jobs he has or any          ·4· · · · facility?
·5· · · · other businesses he has?                             ·5· · · · · · · ·MR. OETHEIMER:· Objection.
·6· ·A.· ·No, alls I know is he does carpentry.                ·6· ·A.· ·No, he didn't say nothing to me either way, good
·7· ·Q.· ·Does he own any nightclubs or restaurants in         ·7· · · · or bad or otherwise.
·8· · · · town?                                                ·8· ·Q.· ·Are you aware that Anthony is the co-chair of
·9· ·A.· ·Not that I know of.· I know he has -- I know his     ·9· · · · the Wheelabrator Saugus committee for the town
10· · · · carpentry business is legal because he does have     10· · · · of Saugus?
11· · · · headings.· When you end up getting your receipts     11· · · · · · · ·MR. OETHEIMER:· Objection.
12· · · · from him, he has a heading on there.· I just         12· ·A.· ·Is he a what?
13· · · · forget the name of the business.                     13· ·Q.· ·Are you aware that Anthony is the co-chair of
14· ·Q.· ·Okay.                                                14· · · · the Wheelabrator Saugus committee for the town
15· ·A.· ·But if you need it, I can get it.                    15· · · · of Saugus?
16· ·Q.· ·Yeah, that's okay.· I'm just wondering in the        16· ·A.· ·No, I was not.
17· · · · many times that you've communicated with             17· ·Q.· ·Are you aware that as part of his role as a
18· · · · Anthony, has he ever talked to you specifically      18· · · · government official for the town, he's trying to
19· · · · about this lawsuit?                                  19· · · · negotiate a host community agreement with
20· ·A.· ·Never mentioned it was a lawsuit.· Never.            20· · · · Wheelabrator that would expand Wheelabrator's
21· ·Q.· ·Okay.· Has he ever talked to you about               21· · · · operation in Saugus?
22· · · · Wheelabrator?                                        22· · · · · · · ·MR. OETHEIMER:· Objection.
23· ·A.· ·Just when he asked me to sign them papers and        23· ·A.· ·No.
                                                                  YVer1f




24· · · · asked me those questions.                            24· ·Q.· ·Are you aware that Saugus stands to collect a

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·1· · · · significant amount of cash revenue if it enters      ·1· ·Q.· ·Yes.
·2· · · · into a host agreement with Wheelabrator?             ·2· ·A.· ·No.
·3· · · · · · · ·MR. OETHEIMER:· Objection.                    ·3· ·Q.· ·Are you involved in any local groups or
·4· ·A.· ·I don't know that.· We are not that deep into --     ·4· · · · organizations?
·5· · · · we are very private people.· We just live in         ·5· ·A.· ·Any local what?
·6· · · · Saugus.· You know, whatever goes on, as long as      ·6· ·Q.· ·Local groups or organizations.
·7· · · · you don't bother us --                               ·7· ·A.· ·No.
·8· ·Q.· ·You don't really talk politics with Anthony?         ·8· ·Q.· ·Do you know anyone else who has provided a
·9· ·A.· ·No.· I don't talk politics with really anybody.      ·9· · · · declaration like the one you've seen here today
10· ·Q.· ·That's good advice.                                  10· · · · regarding odor and dust from Wheelabrator?
11· ·A.· ·Yeah.                                                11· ·A.· ·No.· What's the declaration, the thing you
12· ·Q.· ·Are you employed?                                    12· · · · showed me?
13· ·A.· ·Part time.                                           13· · · · · · · ·MR. OETHEIMER:· Yeah.· He will be showing
14· ·Q.· ·What do you do?                                      14· · · · it to you.
15· ·A.· ·I drive.· I pick up -- well, let me put it to        15· · · · · · · ·His question is do you know anybody else
16· · · · you this way, I deliver state police clothes. I      16· · · · who may have signed something like this?
17· · · · pick them up; we bring them back to our              17· ·A.· ·No, I don't.
18· · · · cleaners; we clean them; and then I go deliver       18· ·Q.· ·All right.· Do you know Sarah Cogliano?
19· · · · the clean ones.· We are in barracks Troop A and      19· ·A.· ·Sorry.· I didn't know what you said.
20· · · · Troop H.                                             20· ·Q.· ·Do you know Sarah Cogliano?
21· ·Q.· ·That's for the police?                               21· ·A.· ·No.
22· ·A.· ·Yes, sir.· State police.                             22· ·Q.· ·Do you know Stephanie Fernandez?
23· ·Q.· ·Does your wife work?                                 23· ·A.· ·No.· I don't know what you even said the first
24· ·A.· ·She owns the cleaners with my son.                   24· · · · time?· What did you say the first time?

                                                         31                                                        33
·1· ·Q.· ·You work together on that?· Do you work together     ·1· ·Q.· ·Stephanie Fernandez.
·2· · · · -- she cleans the laundry and you help deliver?      ·2· ·A.· ·Fernandez?
·3· ·A.· ·No, no.· We have employees that -- we have           ·3· · · · · · · ·MR. OETHEIMER:· Stephanie Fernandez.
·4· · · · employees that tag all the stuff in, clean them,     ·4· ·A.· ·Stephanie Fernandez?
·5· · · · and my son is usually there most of the time,        ·5· ·Q.· ·Stephanie Fernandez.
·6· · · · but he just had a rotator cuff operation.· Him       ·6· ·A.· ·No.
·7· · · · and my wife own the company.· Me, I'm just --        ·7· ·Q.· ·Do you know Elizabeth Marchese?
·8· · · · I'm a slug that helps them out.                      ·8· ·A.· ·No.
·9· · · · · · · ·MR. OETHEIMER:· You work for your wife        ·9· ·Q.· ·Do you know Richard Nuzzo?
10· · · · like the rest of us.                                 10· ·A.· ·Are these people from Saugus or Everett?
11· ·A.· ·I already had my career.                             11· ·Q.· ·Yeah.
12· ·Q.· ·Don't we all.                                        12· ·A.· ·Huh?
13· · · · · · · ·Where is the cleaner located?                 13· ·Q.· ·Yes, they are from Saugus.
14· ·A.· ·Broadway in Everett.                                 14· ·A.· ·Oh, no.
15· ·Q.· ·What's your son's name?                              15· ·Q.· ·Do you know Jeff Polini?
16· ·A.· ·Stephen.                                             16· ·A.· ·No.· I'm from Everett originally.· We moved to
17· ·Q.· ·Has Stephen ever worked for Wheelabrator?            17· · · · Saugus.
18· ·A.· ·Wheelabrator?                                        18· ·Q.· ·Do you know Jeff Polini?
19· ·Q.· ·Yeah.                                                19· ·A.· ·I don't know who that is either.
20· ·A.· ·No.                                                  20· ·Q.· ·Do you know Doug Clark?
21· ·Q.· ·Has Stephen ever worked for the town of Saugus?      21· ·A.· ·No.
22· ·A.· ·No.                                                  22· ·Q.· ·Have you ever attended any of the meetings down
23· ·Q.· ·Did you ever work for the town?                      23· · · · at town hall for Wheelabrator?
                                                                  YVer1f




24· ·A.· ·Me?                                                  24· ·A.· ·No.· I never attended a meeting down there for

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·1· · · · anything.· I'm a very private person.                 ·1· · · · just to be clear.· The typed stuff is on there,
·2· ·Q.· ·Okay.· All right.· Let's get down to the              ·2· · · · too.
·3· · · · statements that brought you here today.               ·3· ·Q.· ·Did you write any handwritten text on this
·4· · · · · · · ·I'm going to share my screen with you and      ·4· · · · document?
·5· · · · represent this is a declaration that was              ·5· ·A.· ·No.
·6· · · · provided with the name John Copper at the top on      ·6· ·Q.· ·You pointed out that your address is 45 Bristow
·7· · · · June 19, 2022.· Can you see this?                     ·7· · · · Street in Saugus; is that correct?
·8· ·A.· ·Yes.                                                  ·8· ·A.· ·That's right.
·9· · · · · · · ·MR. OETHEIMER:· Matt, I have a hard copy.      ·9· ·Q.· ·Isn't it right that Exhibit 2 has 44 Bristow
10· · · · Would you like me to put out a hard copy?· It         10· · · · Street?
11· · · · may be easier.                                        11· ·A.· ·Yeah.· Over here on the right.· Yeah.
12· · · · · · · ·MR. ROBB:· Yes, Richard, if you could          12· ·Q.· ·You probably wouldn't have written that because
13· · · · provide a copy to him, I'm going to introduce as      13· · · · that's not your address, right?
14· · · · Exhibit 2 the declaration of a John Copper from       14· ·A.· ·No.· This is June of '22?
15· · · · June 19, 2022.                                        15· ·Q.· ·Yes.
16· · · · · · · ·MR. OETHEIMER:· All right.· I'm handing        16· ·A.· ·It says here.
17· · · · the witness a physical hard copy of it.· And I        17· ·Q.· ·Yeah, June of '22.
18· · · · have written myself Exhibit 2 on it just so we        18· ·A.· ·It says over here, somebody circled this thing
19· · · · can keep things straight, because I assume            19· · · · here and said you have lived at this address for
20· · · · you'll show him Exhibit 3 at some point.              20· · · · 18 years.· We've been here for 23 years.
21· · · · · · · ·Mr. Cooper, that is the same document          21· ·Q.· ·So that information isn't correct either?
22· · · · that is up on the screen.                             22· ·A.· ·No.
23· · · · · · · · · · (Deposition Exhibit No. 2                 23· ·Q.· ·Is there any other information on this document
24· · · · · · · · · · marked for identification.)               24· · · · that you see is incorrect?

                                                           35                                                             37
·1· ·A.· ·Yeah, you already showed me that.                     ·1· · · · · · · ·MR. OETHEIMER:· Objection.
·2· ·Q.· ·Mr. Cooper, do you see at the bottom next to          ·2· ·A.· ·Should I read it?
·3· · · · executed on June 19, 2022, a signature at the         ·3· ·Q.· ·Yeah.· Take your time to read it.· Do you see
·4· · · · bottom?                                               ·4· · · · any other information on this declaration from
·5· ·A.· ·Yeah.                                                 ·5· · · · June 19 that is incorrect?
·6· ·Q.· ·Is that your signature?                               ·6· · · · · · · ·MR. OETHEIMER:· Objection.
·7· ·A.· ·On the right-hand side?                               ·7· · · · · · · ·Are you asking him about the handwritten
·8· ·Q.· ·Yes.                                                  ·8· · · · portion or the typed portion or both?
·9· ·A.· ·No.                                                   ·9· · · · · · · ·MR. ROBB:· Any portion.
10· ·Q.· ·Do you know whose signature it is?                    10· ·A.· ·No.· I don't even know who Brenda Sweetland is.
11· ·A.· ·No.                                                   11· ·Q.· ·Okay.
12· ·Q.· ·Do you see in paragraph 1 where it says, My Name      12· ·A.· ·Whoever -- is this person writing down my
13· · · · is and then there's a blank space.· Do you see        13· · · · information falsely?
14· · · · that it says John Copper?                             14· ·Q.· ·That's what I'm asking you.· Do you think that
15· ·A.· ·Yes.                                                  15· · · · somebody put false information on this document?
16· ·Q.· ·Is that your handwriting?                             16· · · · · · · ·MR. OETHEIMER:· Objection.
17· ·A.· ·No.                                                   17· ·A.· ·Well, I don't know this person.· So maybe they
18· ·Q.· ·It probably makes sense that it's not your            18· · · · did.
19· · · · handwriting because your name is not John Copper      19· ·Q.· ·Okay.
20· · · · as this document says, is it?                         20· ·A.· ·Which street do they live on?
21· ·A.· ·That's right.                                         21· ·Q.· ·Are you aware that this document was provided to
22· ·Q.· ·You did not write any of the text that's on this      22· · · · Wheelabrator as evidence in relation to this
23· · · · document?                                             23· · · · lawsuit?
                                                                   YVer1f




24· · · · · · · ·MR. OETHEIMER:· Any of the handwriting,        24· ·A.· ·No, I'm not aware of that.

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·1· ·Q.· ·Did you authorize anyone to sign this document       ·1· ·A.· ·I also --
·2· · · · for you?                                             ·2· · · · · · · ·MR. OETHEIMER:· Hold on.· You keep
·3· ·A.· ·I didn't authorize anyone to sign anything like      ·3· · · · cutting off -- I appreciate you are remote and
·4· · · · this.· I never even seen this.· I know there         ·4· · · · the witness is sort of a little halting, but you
·5· · · · was --                                               ·5· · · · are cutting off his answers, Matt.· Maybe you
·6· ·Q.· ·Okay.                                                ·6· · · · want to just be a little more patient and give
·7· · · · · · · ·MR. OETHEIMER:· Matt, you cut off the         ·7· · · · him an opportunity.
·8· · · · witness's answer.                                    ·8· · · · · · · ·MR. ROBB:· Yeah, purely unintentional. I
·9· ·Q.· ·Was there something that you were trying to say?     ·9· · · · think it might have to do with the technological
10· · · · · · · ·MR. OETHEIMER:· He started --                 10· · · · delay here.
11· ·Q.· ·He said, I've never seen this document.· Did you     11· · · · · · · ·MR. OETHEIMER:· I appreciate that.
12· · · · say anything after that?                             12· ·A.· ·I also told the guy that nothing comes over here
13· · · · · · · ·MR. OETHEIMER:· Then he said, I know --       13· · · · or bothers us from Wheelabrator.· That's when he
14· ·A.· ·I know I got bugged by one of my half-ass            14· · · · started giving me information that I didn't have
15· · · · neighbors way up the street, at the top of my        15· · · · time to listen to and I had to go.
16· · · · street, bothering me for about a half hour while     16· ·Q.· ·Do you know who this neighbor was?
17· · · · I was trying to get my dog in the house so I         17· ·A.· ·I don't know his name.· I know where he lives.
18· · · · could go to work.· He was giving me a hard time      18· ·Q.· ·You understood they were going door to door
19· · · · about why I voted on Anthony's side.                 19· · · · trying to get people to speak out in opposition
20· · · · · · · ·And then he asked about the thing you         20· · · · to Wheelabrator?
21· · · · were talking about at the town hall.· So I told      21· · · · · · · ·MR. OETHEIMER:· Objection.
22· · · · him, Go ahead.· If you want to debate it, debate     22· ·A.· ·Yes.
23· · · · it.· It doesn't bother me.· That wasn't a girl.      23· ·Q.· ·All right.· So what my question was before, on
24· · · · That was a guy.                                      24· · · · or before June 19, 2022, had you ever been

                                                      39                                                            41
·1· ·Q.· ·What vote did you make?                          ·1· · · · approached by anyone to sign this document that
·2· ·A.· ·I didn't make any vote.· I told him if he wanted ·2· · · · we marked as Exhibit 2?
·3· · · · to debate it, go ahead and debate it.            ·3· ·A.· ·I'm sorry.· What did he ask me?
·4· ·Q.· ·What did the person approach you about?          ·4· · · · · · · ·MR. OETHEIMER:· Why don't you read it
·5· ·A.· ·About the Wheelabrator.                          ·5· · · · back or why don't you say it again.· Basically,
·6· ·Q.· ·What were they trying to -- were they trying to  ·6· · · · repeat the question.
·7· · · · get you to sign something in opposition to       ·7· ·Q.· ·On or before June 19, 2022, which is the date at
·8· · · · Wheelabrator?                                    ·8· · · · the bottom of Exhibit 2, had you ever been
·9· · · · · · · ·MR. OETHEIMER:· Objection.                ·9· · · · approached by anyone to ask you to sign a
10· ·A.· ·Yes.                                             10· · · · declaration like this?
11· ·Q.· ·You did not want to sign anything in opposition  11· ·A.· ·What's Anthony's look like?
12· · · · to Wheelabrator?                                 12· · · · · · · ·MR. OETHEIMER:· He's asking what
13· ·A.· ·No.                                              13· · · · Anthony's looks like.· I don't know, Matt, if
14· ·Q.· ·Is that because you are on Anthony's side?       14· · · · you want me to show him.· It's obviously got a
15· · · · · · · ·MR. OETHEIMER:· Objection.                15· · · · later date.
16· ·A.· ·Well, I don't know if you want to call it sides. 16· ·Q.· ·What I'm trying to say, we can agree that you
17· · · · I guess it turns out that there is sides, but I  17· · · · didn't sign this document?
18· · · · already told him, I signed with Anthony.         18· · · · · · · ·MR. OETHEIMER:· Exhibit 2?
19· ·Q.· ·Okay.· You sided with Anthony on keeping -- your 19· · · · · · · ·MR. ROBB:· Correct.
20· · · · understanding, you signed with Anthony on        20· · · · · · · ·MR. OETHEIMER:· Not that, Exhibit 2.
21· · · · keeping the Wheelabrator facility open?          21· ·Q.· ·As of June 19, 2022, you did not sign that
22· · · · · · · ·MR. OETHEIMER:· Objection.                22· · · · document, right?
23· ·A.· ·Yes.                                             23· ·A.· ·The only document I signed was Anthony's. I
                                                                  YVer1f




24· ·Q.· ·Okay.                                            24· · · · don't know what the date was unless I look at

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·1· · · · the paper over there.                              ·1· · · · take his coat off.
·2· · · · · · · ·MR. OETHEIMER:· I can't give it to you      ·2· ·A.· ·It's a lot more than four questions.· Go ahead.
·3· · · · but if he -- I will eventually.· He probably       ·3· ·Q.· ·You said many -- can you hear me?
·4· · · · will eventually.                                   ·4· ·A.· ·I can hear you now.
·5· · · · · · · ·MR. ROBB:· I can show you what I'll mark    ·5· ·Q.· ·You said that you first saw this document when
·6· · · · as Exhibit 3.                                      ·6· · · · Anthony came into your driveway; is that
·7· · · · · · · · · · (Deposition Exhibit No. 3              ·7· · · · correct?
·8· · · · · · · · · · ·marked for identification.)           ·8· ·A.· ·That's right.
·9· · · · · · · ·MR. OETHEIMER:· Matt, can I provide him     ·9· ·Q.· ·Do you recall when that was?
10· · · · with Exhibit 3.                                    10· ·A.· ·I can't tell you what month, but I know my car
11· · · · · · · ·MR. ROBB:· Yes, please do.                  11· · · · was full of pollen then.
12· ·Q.· ·I have marked as Exhibit 3 a declaration that      12· ·Q.· ·Your what was full of pollen?
13· · · · appears to be signed on August 22, 2022.           13· ·A.· ·You know, our cars.· Our cars were all covered
14· · · · · · · ·Do you see that?                            14· · · · with pollen.· I thought that was one of the wise
15· ·A.· ·Yeah, I do see this.                               15· · · · answers I gave him when he asked me do we get
16· ·Q.· ·Okay.· Now, what I'm asking is, before, on or      16· · · · any dust around here.· Sometimes I like to goof
17· · · · before June 19th -- now I'm looking at Exhibit     17· · · · around.
18· · · · 2, since June 19th is the date on the Exhibit 2    18· ·Q.· ·Okay.· What else did you and Anthony talk about?
19· · · · declaration -- had you ever seen a document like   19· ·A.· ·That's it.· He asked me four questions and then
20· · · · this as of June 19, 2022?                          20· · · · they left.
21· ·A.· ·I don't know.· I signed Anthony's document         21· ·Q.· ·Okay.· You signed the document on the date when
22· · · · before August.                                     22· · · · Anthony came to your driveway?
23· ·Q.· ·I see a document August 22, 2022, that we've       23· ·A.· ·Yes, sir.
24· · · · marked as Exhibit 3.· If you look at the bottom,   24· ·Q.· ·Where did you sign it?

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·1· · · · did you sign the document, the declaration,     ·1· ·A.· ·Did I sign it?· In the driveway.
·2· · · · executed on August 22, 2022?                    ·2· ·Q.· ·Like, on your car or something like that?
·3· · · · · · · ·MR. OETHEIMER:· Exhibit 3.               ·3· ·A.· ·No, he had like a, you know, the thing with the
·4· ·A.· ·This one?                                       ·4· · · · clipboard.· Yeah, a clipboard.
·5· · · · · · · ·MR. OETHEIMER:· Yes.                     ·5· ·Q.· ·Was Anthony going door to door?
·6· ·A.· ·Yeah.· I don't remember if that's the date.     ·6· · · · · · · ·MR. OETHEIMER:· Objection.
·7· ·Q.· ·That's your signature at the bottom of Exhibit  ·7· ·A.· ·Not that I could tell.
·8· · · · 3?                                              ·8· ·Q.· ·You think he came specifically to visit you?
·9· ·A.· ·This is my signature right here.· I don't       ·9· · · · · · · ·MR. OETHEIMER:· Objection.· Foundation.
10· · · · remember what date it was.· I thought I signed  10· ·A.· ·I don't know about that either, honestly. I
11· · · · it long before this other guy had bothered me.  11· · · · imagine he went to probably a lot of people that
12· ·Q.· ·To the best of your recollection, if you don't  12· · · · he knows.· That would be --
13· · · · remember, that's fine, but when is the first    13· ·Q.· ·Do you know why he came to you?
14· · · · time that you ever saw a blank version of this  14· ·A.· ·To see if would I sign this thing for him.
15· · · · declaration?                                    15· ·Q.· ·What's your understanding of why he wanted you
16· · · · · · · ·MR. OETHEIMER:· Objection.               16· · · · to sign this declaration?
17· ·A.· ·I didn't see any blank version.                 17· · · · · · · ·MR. OETHEIMER:· Objection.· Foundation.
18· ·Q.· ·When is the first time you saw any version of   18· ·A.· ·It's just my opinion.· You know, like you said,
19· · · · this declaration?                               19· · · · he's a councilman -- what is he, a councilman?
20· ·A.· ·When Anthony come in my driveway and asked me 20· · · · · · · ·MR. OETHEIMER:· Selectman.
21· · · · those questions.                                21· ·A.· ·Selectman.· He's a selectmen.· To me, he's just
22· · · · · · · ·Can I take this off?                     22· · · · a high politician up in the town hall.· So he
23· · · · · · · ·MR. OETHEIMER:· Oh, sure.· Hold on a     23· · · · was -- probably asked me about this for some
                                                                YVer1f




24· · · · second.· They witness is warm and would like to 24· · · · reason that I really wasn't concerned or worried

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·1· · · · about.                                               ·1· · · · name?
·2· ·Q.· ·So you thought he was just trying to get             ·2· · · · · · · ·MR. OETHEIMER:· Objection.
·3· · · · information on a public interest matter?             ·3· ·Q.· ·I was asking you the question.· You had already
·4· ·A.· ·Yeah.                                                ·4· · · · told me you didn't authorize anyone to sign your
·5· · · · · · · ·MR. OETHEIMER:· Objection.                    ·5· · · · name for you, right?
·6· ·Q.· ·But you didn't know it was about a lawsuit?          ·6· · · · · · · ·MR. OETHEIMER:· Objection.
·7· · · · · · · ·MR. OETHEIMER:· Objection.                    ·7· · · · · · · ·THE WITNESS:· Is this somebody signed my
·8· ·A.· ·No, I did not.· I didn't even know there was         ·8· · · · name?
·9· · · · opposition against it, against Wheelabrator.         ·9· · · · · · · ·MR. OETHEIMER:· I can't answer questions.
10· ·Q.· ·Except when your neighbor came to express            10· ·A.· ·All right.· Can you ask me that one more time so
11· · · · opposition to Wheelabrator, right?                   11· · · · I can understand it?
12· ·A.· ·Yeah.· That's pretty much when I found out there     12· ·Q.· ·Yeah.
13· · · · was something going on.· He was the one that         13· · · · · · · ·You didn't authorize anyone to sign your
14· · · · told me about the town hall meeting.                 14· · · · name for you, did you?
15· ·Q.· ·But you told them you didn't want to sign with       15· ·A.· ·No, I did not.
16· · · · them?                                                16· ·Q.· ·Is today the first time you are learning that
17· · · · · · · ·MR. OETHEIMER:· Objection.                    17· · · · someone signed your name for you on a legal
18· ·A.· ·No.· Why am I going to do that?· I signed with       18· · · · document?
19· · · · one.· I signed with the other.                       19· · · · · · · ·MR. OETHEIMER:· Objection.
20· ·Q.· ·You wanted to side with Anthony?                     20· ·A.· ·Yeah.
21· · · · · · · ·MR. OETHEIMER:· Objection.                    21· · · · · · · ·MR. OETHEIMER:· By the way, I will just
22· ·A.· ·That's right.                                        22· · · · repeat the statement I have made at other
23· ·Q.· ·I'm going to just direct your attention over to      23· · · · depositions, but for Mr. Cooper's benefit,
24· · · · Exhibit 2, which is the June 19, 2022, version.      24· · · · Wheelabrator has made it clear to Mr. Robb and

                                                          47                                                         49
·1· · · · Are you looking at that right now?                   ·1· · · · his office that we will not offer to the Court
·2· ·A.· ·Yeah.                                                ·2· · · · any declarations that were not signed by the
·3· · · · · · · ·MR. OETHEIMER:· He is.· I will take this      ·3· · · · person whose name appears on it.
·4· · · · one back.                                            ·4· · · · · · · ·So Exhibit 3 that you did sign, we will
·5· ·Q.· ·All right.· Take a look at the declaration at        ·5· · · · offer, but I've told Attorney Robb that we will
·6· · · · the top where it says, "Pursuant to 28 U.S.C.,       ·6· · · · not offer Exhibit 2 that you did not sign
·7· · · · Section 1746, I declare and say," do you see         ·7· · · · yourself.
·8· · · · that?                                                ·8· · · · · · · ·Again, I just want to make that statement
·9· ·A.· ·Yes.                                                 ·9· · · · for the record to allay any -- to make sure the
10· ·Q.· ·Are you familiar with 28 U.S.C. 1746?                10· · · · witness understands we are not seeking to use
11· ·A.· ·Am I familiar with --                                11· · · · the document that he did not sign if that's not
12· ·Q.· ·It's a law.· It's a law.· Are you familiar with      12· · · · his authentic signature.
13· · · · that law?                                            13· ·Q.· ·(By Mr. Robb) In fact, you had never seen this
14· ·A.· ·No, I'm not.                                         14· · · · document as of June 2022, had you?
15· ·Q.· ·You don't know if that statute allows other          15· · · · · · · ·MR. OETHEIMER:· Objection.· Seen it
16· · · · people to sign your name without your                16· · · · signed or seen --
17· · · · permission?                                          17· ·Q.· ·Mr. Cooper, I'm asking you, had you ever seen
18· · · · · · · ·MR. OETHEIMER:· Objection.                    18· · · · this document, this declaration, as of June 19,
19· ·A.· ·No, I did not know that.                             19· · · · 2022?
20· ·Q.· ·Similarly, you don't know if that statute            20· · · · · · · ·MR. OETHEIMER:· Objection, because he was
21· · · · requires the signatory to be the person who is       21· · · · a little unclear about when he saw the form.
22· · · · signing the document, do you?                        22· · · · You are talking about the document bearing his,
23· · · · · · · ·MR. OETHEIMER:· Objection.                    23· · · · what purports to be is signature; is that right?
                                                                  YVer1f




24· ·A.· ·This gives somebody the permission to sign my        24· ·Q.· ·With or without your signature, have you ever

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·1· · · · seen a document dated June 19, 2022, with a         ·1· · · · Ask me it again.
·2· · · · signature on it that was not your own?              ·2· ·Q.· ·Yes.· On paragraph 1 of Exhibit 3, the August
·3· ·A.· ·No.                                                 ·3· · · · declaration that you signed, is that your
·4· ·Q.· ·Do you see on paragraph 6 of the declaration        ·4· · · · handwriting?
·5· · · · where it says, "I declare under penalty of          ·5· ·A.· ·On the very top?
·6· · · · perjury that the foregoing is true and correct"?    ·6· · · · · · · ·MR. OETHEIMER:· In paragraph 1 where it
·7· ·A.· ·I declare under the penalty of perjury --           ·7· · · · says your name and address.
·8· · · · · · · ·MR. OETHEIMER:· I will object.· To the       ·8· · · · · · · ·THE WITNESS:· Line one?
·9· · · · extent there's any implication, if the witness      ·9· · · · · · · ·MR. OETHEIMER:· Yes, line one.
10· · · · didn't sign the document, then that declaration     10· ·A.· ·No, that's not my handwriting.
11· · · · is not something he declared.                       11· ·Q.· ·Do you know whose handwriting it is?
12· ·Q.· ·Do you see the paragraph that I'm showing you?      12· ·A.· ·No.
13· ·A.· ·No. 6?                                              13· ·Q.· ·But Anthony Cogliano brought this to your home
14· · · · · · · ·MR. OETHEIMER:· Yes.                         14· · · · prefilled out?
15· ·Q.· ·Yes.                                                15· · · · · · · ·MR. OETHEIMER:· Objection.
16· ·A.· ·Yes.                                                16· ·A.· ·Yeah, it might have been already filled out.
17· ·Q.· ·Do you know what perjury is?                        17· ·Q.· ·Do you recall if this information was filled in
18· ·A.· ·No.· I could have seen this piece of paper          18· · · · at the time you signed it?
19· · · · empty.· But I never seen this piece of paper        19· ·A.· ·No.· He probably wrote it right there while I
20· · · · written on.                                         20· · · · was in the driveway.
21· ·Q.· ·What I want to ask you, are you comfortable with    21· ·Q.· ·At least as far as paragraph 1 goes, you didn't
22· · · · having someone sign your name for you without       22· · · · write it?
23· · · · seeing the document beforehand knowing that it      23· ·A.· ·I didn't write that.
24· · · · was signed under the penalty of perjury?            24· ·Q.· ·Was anyone else present at the time that he

                                                     51                                                              53
·1· · · · · · · ·MR. OETHEIMER:· Objection.                ·1· · · · signed   the declaration in your driveway?
·2· ·A.· ·Am I comfortable with it?· No, of course I'm not ·2· ·A.· ·Yeah, there was somebody in the driver's seat.
·3· · · · comfortable with it.                             ·3· ·Q.· ·With Anthony?
·4· ·Q.· ·Now, I'm going to ask you a little bit about     ·4· ·A.· ·Yes.
·5· · · · Exhibit 3, which you said -- did you sign        ·5· ·Q.· ·Who was that?
·6· · · · Exhibit 3 dated August 22, 2022?                 ·6· ·A.· ·I don't know who that was.
·7· · · · · · · ·MR. OETHEIMER:· That one.                 ·7· ·Q.· ·Somebody drove Anthony there?
·8· ·A.· ·Yes.                                             ·8· ·A.· ·Yeah.
·9· ·Q.· ·Am I correct that paragraph 1 of Exhibit 3       ·9· ·Q.· ·To your house?
10· · · · indicates your address as 44 Bristow Street,     10· ·A.· ·Yeah.
11· · · · Saugus?                                          11· ·Q.· ·Was that yes?
12· ·A.· ·Yes, I see that, yeah.                           12· ·A.· ·I would figure they've probably been driving
13· ·Q.· ·That's not your address, is it?                  13· · · · around for a while.
14· ·A.· ·No.                                              14· ·Q.· ·You don't recall if that information was already
15· ·Q.· ·You haven't lived at your home for only 18       15· · · · filled in at the time you signed it?
16· · · · years, have you?                                 16· ·A.· ·I can't recall if that was in there or not in
17· ·A.· ·No.                                              17· · · · there.
18· ·Q.· ·You have lived there for 23?                     18· ·Q.· ·What did Anthony ask you during that
19· ·A.· ·Yeah.                                            19· · · · conversation in your driveway?
20· ·Q.· ·Is it fair to say in paragraph 1, you also did   20· ·A.· ·He asked me do I -- he's going to ask me a
21· · · · not fill out the blank spaces on Exhibit 3?      21· · · · couple of questions about the Wheelabrator. I
22· ·A.· ·Say that again.                                  22· · · · said okay.· He goes, Do you get any dust up here
23· ·Q.· ·Is that your handwriting in paragraph 1?         23· · · · from, you know, any odd kind of dust, not
                                                                 YVer1f




24· ·A.· ·I want -- no, I want to understand the question. 24· · · · pollen, just dust in the air?· I told him no.

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·1· · · · He said, Do you get any smell over here?· And I     ·1· ·Q.· ·Earlier on I was saying that Brenda Sweetland
·2· · · · told him, No, we don't smell nothing.· And I        ·2· · · · filed the lawsuit and she's seeking to represent
·3· · · · made the joke about the pollen in the air.          ·3· · · · a class of people in the community who have been
·4· · · · · · · ·And then he asked me another question        ·4· · · · impacted by odors and dust.· So a punitive class
·5· · · · that I don't remember what it was.· I told you      ·5· · · · member is someone who isn't part of the class
·6· · · · that when you first asked me that, and then he      ·6· · · · yet, but the lawsuit could impact your rights if
·7· · · · said, Do you have any problem with the              ·7· · · · the class is certified.
·8· · · · Wheelabrator?· I said only at night when it         ·8· · · · · · · ·Did Anthony tell you that by signing a
·9· · · · wakes you up.· That was kind of like another        ·9· · · · statement like this, that you might lose your
10· · · · joke because it really don't bother us.             10· · · · right in the future to participate or collect on
11· · · · · · · ·Then he asked me, Okay.· Do you want to      11· · · · any money that the lawsuit obtains on behalf of
12· · · · sign this for us?· We are trying to keep the        12· · · · the class?
13· · · · Wheelabrator going.· I said, Okay.                  13· · · · · · · ·MR. OETHEIMER:· Objection.
14· ·Q.· ·Great.· Did you do it pretty quick?· Did you        14· ·A.· ·Can I have his name so I can address him
15· · · · take the time to read everything on the paper?      15· · · · correctly?
16· ·A.· ·No.· Usually I just trust him.                      16· · · · · · · ·MR. OETHEIMER:· It's Matthew Robb.
17· ·Q.· ·Okay.· When Anthony was there in your driveway      17· ·A.· ·Matthew Robb.
18· · · · and asked you these questions, did you              18· ·Q.· ·Yeah, you can call me Matt.
19· · · · understand this document would be provided to       19· ·A.· ·Hi, Matt.· Matt, I don't know anything about a
20· · · · Wheelabrator in a legal proceeding?                 20· · · · lawsuit.· I don't know anything about that.
21· · · · · · · ·MR. OETHEIMER:· Objection.                   21· ·Q.· ·Okay.· Anthony didn't tell you either?
22· ·A.· ·No, I thought this was something that had to do     22· ·A.· ·No.· You've asked me that a couple of times or
23· · · · with him and his politics.                          23· · · · more than a couple of times.
24· ·Q.· ·At the time that Anthony asked you to sign the      24· ·Q.· ·Okay.

                                                     55                                                              57
·1· · · · statement that is marked as Exhibit 3, did       ·1· ·A.· ·I don't lie.· So I've told you I don't know how
·2· · · · Anthony inform you that there was a proposed     ·2· · · · many times, I don't know anything about a
·3· · · · class action going on relating to Wheelabrator's ·3· · · · lawsuit.
·4· · · · odor and dust?                                   ·4· ·Q.· ·I appreciate that.
·5· · · · · · · ·MR. OETHEIMER:· Objection.· Foundation.   ·5· · · · · · · ·Did Anthony tell you that he was there on
·6· · · · Go ahead.                                        ·6· · · · behalf of Wheelabrator and that Wheelabrator
·7· ·A.· ·No, this was very quick.· He pulled into the     ·7· · · · doesn't represent your interests in the case?
·8· · · · driveway.· I was outside.· He asked me a couple ·8· · · · · · · ·MR. OETHEIMER:· Objection.
·9· · · · of questions.· He asked me if I would sign it.   ·9· ·A.· ·If I remember right, I'm pretty sure he
10· · · · I signed it, and then him and his buddy took     10· · · · mentioned this was something about Wheelabrator.
11· · · · off.                                             11· ·Q.· ·Did he say that he was getting that signature
12· ·Q.· ·Okay.                                            12· · · · for Wheelabrator?
13· ·A.· ·I actually never really looked at who was        13· ·A.· ·No, I didn't get any into details, no.
14· · · · driving the car actually.                        14· ·Q.· ·Have you ever heard of a law firm called Goodwin
15· ·Q.· ·Yeah.· When Anthony asked you to sign the        15· · · · Procter?
16· · · · statement in Exhibit 3, did he inform you you    16· ·A.· ·No.
17· · · · may be a member of a punitive class and that     17· ·Q.· ·That's where Richard Oetheimer works and they
18· · · · your rights might be impacted by the lawsuit?    18· · · · represent Wheelabrator.
19· ·A.· ·A punitive class?· I don't know what that is.    19· · · · · · · ·Have you ever heard --
20· ·Q.· ·So he didn't tell you about that?                20· · · · · · · ·THE WITNESS:· That's you?
21· ·A.· ·No.                                              21· · · · · · · ·MR. OETHEIMER:· Yes.
22· · · · · · · ·What's a punitive class?                  22· ·Q.· ·-- of the law firm called Liddle Sheets Coulson?
23· ·Q.· ·Did he tell you about that?· I can tell you --   23· · · · · · · ·MR. OETHEIMER:· Me.· He's pointing to me.
                                                                 YVer1f




24· ·A.· ·No, no.                                          24· · · · Yes, that's me.· It's me and it's my law firm,

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                                                        58                                                              60
·1· · · · but he hasn't heard of Goodwin Procter or me.      ·1· · · · Wheelabrator has emitted noxious odors and dust
·2· ·Q.· ·Have you ever heard of a law firm called Liddle    ·2· · · · and that I may be a member of the proposed
·3· · · · Sheets Coulson?                                    ·3· · · · class; (3) I'm providing this to Wheelabrator
·4· · · · · · · ·MR. OETHEIMER:· That's him.                 ·4· · · · and its attorneys who do not represent me and
·5· ·A.· ·The only time I heard your name was this guy       ·5· · · · who may use it to defend against the proposed
·6· · · · Jack.                                              ·6· · · · class action."
·7· · · · · · · ·MR. OETHEIMER:· When somebody basically     ·7· ·A.· ·No, I did not.
·8· · · · told you --                                        ·8· ·Q.· ·"And (4) before signing, I was informed that I
·9· · · · · · · ·THE WITNESS:· Call you.                     ·9· · · · have the right to contact plaintiff's counsel in
10· · · · · · · ·MR. OETHEIMER:· -- to come here.            10· · · · the pending lawsuit, Liddle Sheets Coulson."
11· · · · · · · ·THE WITNESS:· That's the only thing I can   11· · · · · · · ·It's not correct that you understood that
12· · · · think of.                                          12· · · · at the time you signed it, is it?
13· · · · · · · ·MR. OETHEIMER:· You should be thanking      13· ·A.· ·I did not read that and he did not ask me to
14· · · · us.· Actually, the subpoena actually didn't make   14· · · · read it.
15· · · · it to his address.· So we basically arranged his   15· ·Q.· ·Do you know if Jack, the man who texted you
16· · · · attendance.· Because the last time when you        16· · · · about today's deposition, is the same person who
17· · · · subpoenaed people in August, obviously that        17· · · · was in the car with Anthony?
18· · · · didn't happen.· We attempted to secure his         18· ·A.· ·No, I did not know that either.
19· · · · attendance today and apparently we succeeded.      19· ·Q.· ·Do you know Jack?
20· ·Q.· ·(By Mr. Robb) Well, in any case, I think we know   20· ·A.· ·I don't even know if that's true.· I don't know
21· · · · the answer, but when Anthony talked to you to      21· · · · who Jack is and I don't know if Jack was in the
22· · · · ask you to sign the document, he didn't tell you   22· · · · car with him.· What's Jack last name?
23· · · · that you have a right to contact us to ask what    23· ·Q.· ·That's what I would like to know.
24· · · · legal rights you might have in the case?           24· ·A.· ·Yeah, I don't know either.

                                                    59                                                              61
·1· ·A.· ·Again, I didn't know there was a case. I           ·1· ·Q.· ·You spoke to him on the phone?
·2· · · · thought I was signing something for him to do      ·2· ·A.· ·Yeah.
·3· · · · with his politics.· I hate politics.· Because      ·3· ·Q.· ·Do you know what his interest was in making sure
·4· · · · quite frankly, we don't have any real just         ·4· · · · that you showed up today?
·5· · · · politics anymore.· Take a look at your             ·5· · · · · · · ·MR. OETHEIMER:· Objection.
·6· · · · president.                                         ·6· ·A.· ·Well, I just assumed it had something to do with
·7· · · · · · · ·Now, I got that piece of paper, I signed    ·7· · · · helping Anthony out.
·8· · · · it for Anthony.· Anthony is a friend of mine. I    ·8· ·Q.· ·That's what you wanted to do?
·9· · · · trust him.· I figured it was something to do       ·9· · · · · · · ·THE WITNESS:· Is this mine?
10· · · · with his politics that I do not get involved in    10· · · · · · · ·MR. OETHEIMER:· Sure.· Yes.
11· · · · and I went back to what I was doing.· He went      11· ·A.· ·Sorry, sir?
12· · · · off and that is the last I heard of it.            12· ·Q.· ·That's what you wanted to do is help Anthony
13· ·Q.· ·Okay.· Anthony didn't tell you about your rights   13· · · · this whole time, right?
14· · · · in the lawsuit and that you didn't actually read   14· · · · · · · ·MR. OETHEIMER:· Objection.
15· · · · this disclaimer at the very bottom, it's not       15· ·A.· ·Yeah.
16· · · · true that you acknowledged all of that, is it?     16· ·Q.· ·Is that a yes?
17· · · · · · · ·MR. OETHEIMER:· Objection.                  17· ·A.· ·Yes.· It had to do with my name on here.· So --
18· ·A.· ·It's not true what?                                18· ·Q.· ·Are you comfortable having a document that you
19· ·Q.· ·If you look, see the asterisk at the bottom        19· · · · did not sign offered as evidence in litigation
20· · · · underneath the signature page, "I understand and   20· · · · when you didn't even know who wrote the
21· · · · agree that: (1) I'm signing this voluntarily and   21· · · · information?
22· · · · I will not suffer any consequences if I decide     22· · · · · · · ·MR. OETHEIMER:· Which document?· The
23· · · · not to sign it; (2) I have been informed that      23· · · · document that's in front of him at this point,
                                                                YVer1f




24· · · · there is a proposed class action alleging that     24· · · · Matt, Exhibit 3 --

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                                                         62                                                            64
·1· · · · · · · ·MR. ROBB:· Yes.                              ·1· · · · · · · ·Have you asked anyone or consulted with
·2· · · · · · · ·MR. OETHEIMER:· -- is the one he signed.     ·2· · · · anyone if you have a legal remedy against the
·3· · · · Are you asking about that document?                 ·3· · · · person who forged your name to a document that
·4· ·Q.· ·A document that wasn't signed by you used as        ·4· · · · you hadn't seen?
·5· · · · evidence in litigation when you don't know who      ·5· · · · · · · ·MR. OETHEIMER:· Objection.
·6· · · · wrote the information?                              ·6· ·A.· ·I didn't even know this existed.· So how could I
·7· · · · · · · ·MR. OETHEIMER:· Well, objection.· Asked      ·7· · · · do that?
·8· · · · and answered.· I thought you asked him that         ·8· ·Q.· ·Well, are you considering whether you may have a
·9· · · · before, I thought, when he had Exhibit 2 in         ·9· · · · legal remedy against somebody for forging your
10· · · · front of him.                                       10· · · · name on a document?
11· · · · · · · ·MR. ROBB:· I asked him if he was             11· · · · · · · ·MR. OETHEIMER:· Objection.
12· · · · comfortable.                                        12· ·A.· ·Well, the only person that would come down to is
13· ·Q.· ·I'm referencing Exhibit 2 from June 2022 that       13· · · · Brenda Sweetland.
14· · · · you did not sign.· Are you comfortable having       14· ·Q.· ·Well, I'll represent to you that this document
15· · · · that declaration that you did not sign used as      15· · · · was produced by and for Wheelabrator in the case
16· · · · evidence when you don't even know who wrote the     16· · · · and that this is being used as evidence to
17· · · · information including your signature?               17· · · · defeat Brenda Sweetland's position that people
18· · · · · · · ·MR. OETHEIMER:· Objection.· Asked and        18· · · · are experiencing odors and dust.
19· · · · answered.· But yes, he is asking you about          19· · · · · · · ·MR. OETHEIMER:· Objection.· That's a
20· · · · Exhibit 2, the one that does not have your          20· · · · mischaracterization.
21· · · · signature.                                          21· ·Q.· ·This is not a document that was produced by the
22· ·A.· ·Okay.· As far as this one goes, I honestly don't    22· · · · plaintiff, Brenda Sweetland.
23· · · · know what to think of this because the guy that     23· · · · · · · ·MR. OETHEIMER:· Part of that is true.
24· · · · I had talked to that lived up the street, I         24· · · · Part of it is not.· I don't know if you are

                                                     63                                                             65
·1· · · · talked to him after I had already signed         ·1· · · · deliberately misrepresenting.· It is a document
·2· · · · Anthony's thing.                                 ·2· · · · that Wheelabrator provided.
·3· · · · · · · ·Obviously this -- obviously this is       ·3· · · · · · · ·Once Wheelabrator determined that it had
·4· · · · totally out of line because it has a date on it  ·4· · · · not been signed by the declarant, by Mr. Cooper
·5· · · · before August.· Isn't June before August?        ·5· · · · in this case, we indicated that we would not be
·6· · · · · · · ·MR. OETHEIMER:· Yes.                      ·6· · · · presenting it.· So Wheelabrator is not using
·7· ·A.· ·Or am I losing my mind here?                     ·7· · · · Exhibit 2, the document that you did not sign.
·8· ·Q.· ·Yes, it is.                                      ·8· · · · · · · ·We are using Exhibit 3, the document you
·9· ·A.· ·That's enough of that.· This, I don't know what ·9· · · · did sign, and the paragraphs, the questions, you
10· · · · this is.                                         10· · · · can take a look at them, are the same.· But we
11· ·Q.· ·Okay.· Would you agree that Exhibit 2 from June 11· · · · are using Exhibit 3 that you signed.· We are not
12· · · · was forged?                                      12· · · · using Exhibit 2.· We are not presenting Exhibit
13· · · · · · · ·MR. OETHEIMER:· Objection.· Legal         13· · · · 2 in evidence in this lawsuit.
14· · · · characterization.                                14· ·Q.· ·(By Mr. Robb) Mr. Cooper, looking at Exhibit 3,
15· ·A.· ·In my opinion, I would have to say yes.          15· · · · the August document that you did sign, are you
16· ·Q.· ·Have you consulted with anybody to figure out if 16· · · · comfortable with having this document submitted
17· · · · you have a legal remedy against the person who 17· · · · as evidence in court even though you did not get
18· · · · forged your signature under the penalty of       18· · · · any information that there was an ongoing
19· · · · perjury even though you hadn't seen the          19· · · · lawsuit and that you were just providing the
20· · · · document?                                        20· · · · document because you thought it had to do with a
21· · · · · · · ·MR. OETHEIMER:· Objection.                21· · · · political matter that Anthony wanted you to
22· ·A.· ·I'm sorry, Matt.· Can you repeat that so I can 22· · · · sign?
23· · · · understand it.                                   23· · · · · · · ·MR. OETHEIMER:· Objection.
                                                                 YVer1f




24· ·Q.· ·Yeah.                                            24· · · · · · · ·THE WITNESS:· Where did you get this?· Is

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                                                          66                                                              68
·1· · · · this from Anthony?                                   ·1· · · · · · · ·MR. OETHEIMER:· Yes.
·2· · · · · · · ·MR. OETHEIMER:· Yes.                          ·2· · · · · · · ·THE WITNESS:· Okay.· Then where does the
·3· · · · · · · ·THE WITNESS:· That's from Anthony?            ·3· · · · part come in that I did not know anything about
·4· · · · · · · ·MR. OETHEIMER:· Yes.                          ·4· · · · a lawsuit?· I was not informed that that had
·5· ·A.· ·This here, you can tear this up.· If you have        ·5· · · · anything to do with a lawsuit.
·6· · · · any more questions, or I'm going to be leaving       ·6· · · · · · · ·MR. OETHEIMER:· What we are using this
·7· · · · the building now.· Okay?· You've asked me the        ·7· · · · for, and we can ask you questions, is basically
·8· · · · same --                                              ·8· · · · we would use it, your answers, that you don't
·9· ·Q.· ·You wouldn't like that declaration to be used as     ·9· · · · have any issues with odors or dust.· That's all
10· · · · evidence in this case?                               10· · · · we are using it for.
11· · · · · · · ·MR. OETHEIMER:· Listen to the question,       11· · · · · · · ·THE WITNESS:· Yeah, I don't have any
12· · · · the one you signed, you are okay with this one       12· · · · issues with odors and dust.
13· · · · being used?                                          13· · · · · · · ·MR. OETHEIMER:· You are fine, you've
14· · · · · · · ·THE WITNESS:· Who gave you that piece of      14· · · · signed that and that's all -- those are the only
15· · · · paper there?                                         15· · · · questions I intend to ask you.
16· · · · · · · ·MR. OETHEIMER:· It was provided to            16· · · · · · · ·THE WITNESS:· Well, that's what I thought
17· · · · Wheelabrator by Anthony Cogliano.                    17· · · · was going to happen in the first place.
18· · · · · · · ·THE WITNESS:· Okay.· Put that in your         18· · · · · · · ·MR. OETHEIMER:· Okay.
19· · · · file.· What are you going to do with this?           19· ·Q.· ·(By Mr. Robb) Mr. Cooper, given -- if you look
20· · · · · · · ·MR. OETHEIMER:· I don't want to do            20· · · · at the bottom where it says, "I understand and
21· · · · anything with that.                                  21· · · · agree" to all these following things about an
22· ·A.· ·You want it.· Now I got a lot of things to do.       22· · · · ongoing lawsuit going on and your rights in the
23· · · · It was nice meeting you, Matt.                       23· · · · lawsuit and all that, since you didn't read it
24· ·Q.· ·Well, Mr. Cooper, I want to clarify.· If you are     24· · · · and you weren't aware of that, are you

                                                        67                                                            69
·1· · · · saying that you do not want any statements from      ·1· · · · comfortable with that document being used as
·2· · · · you used as evidence in the lawsuit, then you        ·2· · · · evidence against the plaintiff in this case?
·3· · · · may be excused as far as I'm concerned.· But if      ·3· · · · · · · ·MR. OETHEIMER:· Objection.· And the
·4· · · · not, I need to know what I'm asking you about        ·4· · · · witness -- I will ask you questions.· I will
·5· · · · and, you know, I'm requesting that you not           ·5· · · · tell you about the lawsuit and I will tell you
·6· · · · leave.· You are free to take a break, if you         ·6· · · · what -- when I get my turn, I will tell you
·7· · · · would like.· I would be happy to finish up --        ·7· · · · about the lawsuit and I will you what we are
·8· · · · · · · ·MR. OETHEIMER:· We can take a break           ·8· · · · using it for, and you can tell me if you have
·9· · · · because I have a few questions I want to ask you     ·9· · · · any problem.· Why don't you wait for my
10· · · · when Matt finishes.                                  10· · · · question.
11· ·Q.· ·(By Mr. Robb) I want to know if you are              11· · · · · · · ·THE WITNESS:· I didn't read the bottom.
12· · · · comfortable having this statement that you did       12· · · · · · · ·MR. OETHEIMER:· I understand.
13· · · · sign used as evidence even though you were not       13· ·Q.· ·(By Mr. Robb) Given that you didn't read the
14· · · · told about an ongoing lawsuit or your rights in      14· · · · bottom, if Wheelabrator is willing to agree not
15· · · · the case?                                            15· · · · to use your declaration, then I would be happy
16· ·A.· ·Okay.· Time out.· Can you guys listen to my          16· · · · to excuse you from further questioning on the
17· · · · question for a minute?                               17· · · · subject.· But otherwise, I do need to know what
18· · · · · · · ·Does this have anything to do with going      18· · · · you know about the testimony you provided and
19· · · · forward with a lawsuit?                              19· · · · how you provided it.
20· · · · · · · ·MR. OETHEIMER:· Yes.· This statement that     20· · · · · · · ·MR. OETHEIMER:· Right.· I think he's
21· · · · you signed, Exhibit 3, that was provided to          21· · · · answered all your questions sort of ad nauseam.
22· · · · Wheelabrator by Anthony Cogliano, Wheelabrator       22· · · · So, Matt, why don't you wrap up so we can try to
23· · · · intends to use in the lawsuit.                       23· · · · get him out of here this afternoon.
                                                                  YVer1f




24· · · · · · · ·THE WITNESS:· In a lawsuit?                   24· · · · · · · ·I think he's given you the answer that he

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                                                         70                                                       72
·1· · · · didn't read the sort of disclaimer.· He wasn't      ·1· ·lives on Dudley Street.· Wheelabrator is using
·2· · · · aware of the lawsuit and Anthony didn't tell him    ·2· ·your declaration and the declarations of other
·3· · · · about it.· So for whatever -- you have that         ·3· ·people in the neighborhood to say that whatever
·4· · · · information for whatever it's worth.                ·4· ·Ms. Sweetland may think she experiences, there
·5· · · · · · · ·But he's also testified that the             ·5· ·are other people in the same Saugus neighborhood
·6· · · · statements in the statement he signed are true      ·6· ·who do not experience odors or dust and have no
·7· · · · and that he basically was asked those questions     ·7· ·complaints.· That's what Wheelabrator would like
·8· · · · at the time.· So let's move on.                     ·8· ·to use your declaration for if you are
·9· · · · · · · ·MR. ROBB:· He also testified that the        ·9· ·comfortable with it.
10· · · · form was filled out by someone other than           10· · · · · THE WITNESS:· Okay.· Where did this come
11· · · · himself --                                          11· ·from?
12· · · · · · · ·MR. OETHEIMER:· No, I understand,            12· · · · · MR. OETHEIMER:· That was provided to
13· · · · correct.                                            13· ·Wheelabrator by Anthony Cogliano.
14· · · · · · · ·MR. ROBB:· -- that it provide 18 years       14· · · · · THE WITNESS:· This was?
15· · · · he's resided at his residence, which is not         15· · · · · MR. OETHEIMER:· It was.· But --
16· · · · true.· That it says the wrong address at the        16· · · · · THE WITNESS:· With my name -- with
17· · · · top, and that he signed it for a friend because     17· ·supposedly my name on it?
18· · · · he thought he was supporting an issue of public     18· · · · · MR. OETHEIMER:· It was your name on it
19· · · · concern.                                            19· ·but it wasn't signed by you.
20· · · · · · · ·I think that this should certainly be        20· · · · · MR. ROBB:· It says John Copper, not John
21· · · · stricken and not used as evidence.· Wheelabrator    21· ·Cooper.
22· · · · thinks that it should be used as evidence.          22· · · · · THE WITNESS:· Anthony gave you both of
23· ·Q.· ·(By Mr. Robb) Mr. Cooper, are you comfortable       23· ·these?
24· · · · with that document being used as evidence given     24· · · · · MR. OETHEIMER:· Yes.

                                                     71                                                           73
·1· · · · what you've learned today?                          ·1· · · · · · · ·THE WITNESS:· That sounds a little
·2· · · · · · · ·MR. OETHEIMER:· Objection.                   ·2· · · · screwed up.
·3· ·A.· ·Right now I'm comfortable with it.· What do you     ·3· · · · · · · ·MR. OETHEIMER:· When they became aware
·4· · · · have -- what's the plaintiff, the people that       ·4· · · · that that was not signed, we asked -- you were
·5· · · · are complaining?                                    ·5· · · · asked to sign this one as to -- to attest that
·6· · · · · · · ·MR. OETHEIMER:· The plaintiff is Brenda      ·6· · · · that information is true.
·7· · · · Sweetland, the person who brought the lawsuit.      ·7· · · · · · · ·Again, let me just be clear, we are not
·8· ·A.· ·Okay.· What harm is being done to them?             ·8· · · · using Exhibit 2.· It was provided, but we are
·9· ·Q.· ·The plaintiff is complaining about noxious odors    ·9· · · · not any longer using it.· I will represent to
10· · · · and dust that have impacted her ability to use      10· · · · you that we will not -- Wheelabrator is not
11· · · · her property and have clogged up her pool drains    11· · · · using Exhibit 2 that you did not sign.
12· · · · over and over again and that it made it so that     12· · · · · · · ·We would like to use Exhibit 3, which you
13· · · · she has to close the windows when the weather is    13· · · · signed.
14· · · · nice.                                               14· · · · · · · ·THE WITNESS:· I didn't know this came --
15· · · · · · · ·The defendant is saying that that's not      15· · · · this came from Anthony, too?
16· · · · true.                                               16· · · · · · · ·MR. OETHEIMER:· Yes.
17· · · · · · · ·MR. OETHEIMER:· Not true.                    17· · · · · · · ·THE WITNESS:· Well, that ain't right
18· ·Q.· ·For your purposes, the defendant is trying to       18· · · · neither.
19· · · · use your declaration to oppose the lawsuit, and     19· · · · · · · ·MR. ROBB:· Off the record.
20· · · · if you are not comfortable having your              20· · · · · · · ·(Recess taken.)
21· · · · declaration used, I'm sure that Wheelabrator        21· ·Q.· ·(By Mr. Robb) We are back on the record.· I just
22· · · · will respect that position.                         22· · · · have two more questions for you.
23· · · · · · · ·MR. OETHEIMER:· The purpose -- the           23· · · · · · · ·One, are you upset about what you've
                                                                 YVer1f




24· · · · plaintiff complains about those things.· She        24· · · · learned here today?

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·1· · · · · · · ·MR. OETHEIMER:· Objection.· You can            ·1· · · · · · · ·THE WITNESS:· I only seen it for a couple
·2· · · · answer.                                               ·2· · · · seconds.· I signed it for him and he kept on
·3· ·A.· ·I'm upset about --                                    ·3· · · · going.
·4· · · · · · · ·MR. OETHEIMER:· That Exhibit 2?                ·4· · · · · · · ·MR. OETHEIMER:· Understood.
·5· · · · · · · ·THE WITNESS:· Yes.                             ·5· ·A.· ·But that's my fault for trusting somebody that I
·6· ·A.· ·I don't care if we are friends or not, he still       ·6· · · · trust without looking into it.· That's how you
·7· · · · should have did a different way.· That I will         ·7· · · · learn lessons in life.· I learned a lousy lesson
·8· · · · take up with him.                                     ·8· · · · today that, I don't know, maybe he pulled a fast
·9· ·Q.· ·Okay.                                                 ·9· · · · one on me.· But that's going to be between me
10· ·A.· ·What's the next question?                             10· · · · and him.· I'm not going to take it back and then
11· ·Q.· ·You are upset that your name was put on a             11· · · · end up in a fight with him.· I'm not going to do
12· · · · document that you had never seen?                     12· · · · that.
13· ·A.· ·Well, it's the same guy that wrote the document.      13· ·Q.· ·You think it might cause a fight with him if you
14· · · · So yeah, I'm upset with him not telling me that       14· · · · took your declaration back?
15· · · · he was doing this.· Yes.                              15· ·A.· ·That's how --
16· ·Q.· ·Are you also upset that you weren't made aware        16· · · · · · · ·MR. OETHEIMER:· Objection.
17· · · · of any lawsuit or that you could be brought into      17· ·A.· ·That's how fights and grudges start.
18· · · · this by signing that document?                        18· ·Q.· ·I understand.· And you don't want to get into
19· ·A.· ·Yeah.· Yeah.· If -- okay.· Never mind.· We are        19· · · · that with a friend?
20· · · · on record.· Go ahead.                                 20· ·A.· ·No, not as far as -- no.· No.· Relationships
21· ·Q.· ·You go ahead.· Do you have anything more you          21· · · · have gone too far in to never speak again over
22· · · · want to say?                                          22· · · · something like this.· You guys can work it out
23· ·A.· ·Yeah.· I don't like the idea of this and, you         23· · · · with all the other people who are complaining on
24· · · · know, the guy is a friend of mine and I consider      24· · · · his side or on their side.· I'm not going to end

                                                         75                                                           77
·1· · · · him my friend.· But this is something I got to        ·1· · · · our friendship over one signature.· It ain't
·2· · · · take up with him personally, him doing that.          ·2· · · · worth it.
·3· · · · Okay?· I'm straightforward.                           ·3· · · · · · · ·MR. ROBB:· I understand.· I have no more
·4· ·Q.· ·Okay.· With everything you learned today, would       ·4· · · · questions.
·5· · · · you prefer that both of these declarations            ·5· · · · · · · ·Thank you for your honest testimony.
·6· · · · weren't used in this lawsuit since you weren't        ·6· · · · · · · ·MR. OETHEIMER:· Okay.· Mr. Cooper, I
·7· · · · told about the lawsuit?                               ·7· · · · won't keep you much longer.
·8· · · · · · · ·MR. OETHEIMER:· Objection.                     ·8
·9· ·A.· ·No, I really can't go back on my word with this.      ·9· · · · Examination by Mr. Oetheimer:
10· · · · But I'm going to have words with him.· That's         10· ·Q.· ·Let just establishment sort of where you live
11· · · · pretty much --                                        11· · · · and all that.
12· ·Q.· ·I understand.· Did Anthony give you a copy of         12· ·A.· ·Didn't we get that done with Matt?
13· · · · either one of those declarations to keep for          13· ·Q.· ·I have a couple of questions.
14· · · · your records or review?                               14· · · · · · · ·MR. OETHEIMER:· What exhibit number,
15· ·A.· ·No.                                                   15· · · · Matt?· 3 was the last one, right?· This will be
16· ·Q.· ·Is today the first time you ever saw a hard           16· · · · Exhibit 4?
17· · · · copy, other than the day in the driveway when         17· · · · · · · ·MR. ROBB:· Yes.
18· · · · you signed the second one?                            18· · · · · · · · · · (Deposition Exhibit No. 4
19· ·A.· ·Today is the first time I've ever seen the thing      19· · · · · · · · · · ·marked for identification.)
20· · · · I signed.                                             20· ·Q.· ·(By Mr. Oetheimer) I have put in front of what
21· · · · · · · ·MR. OETHEIMER:· After you signed it?           21· · · · will be Exhibit 4.· That little red pin, does
22· · · · · · · ·THE WITNESS:· Huh?                             22· · · · that show the location of your home at 45
23· · · · · · · ·MR. OETHEIMER:· You saw it when you            23· · · · Bristow Street?
                                                                   YVer1f




24· · · · signed it, but it's the first time since then?        24· ·A.· ·Yeah, pretty close.

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                                                                                                                         78..81
                                                          78                                                            80
·1· ·Q.· ·That basically shows the area?                       ·1· · · · noxious or foul odors while they were using the
·2· ·A.· ·Yes.                                                 ·2· · · · swimming pool?
·3· · · · · · · ·MR. OETHEIMER:· And I will have this          ·3· ·A.· ·No.· Sorry.· I keep that pool sparkling clean.
·4· · · · marked as Exhibit 5.                                 ·4· ·Q.· ·Do you have any issues with unusual amounts of
·5· · · · · · · · · · (Deposition Exhibit No. 5                ·5· · · · dust or ash accumulating on your pool or on your
·6· · · · · · · · · · ·marked for identification.)             ·6· · · · filter?
·7· ·Q.· ·Is that photograph a Google Earth photograph of      ·7· ·A.· ·Well, I got to be honest with you, I don't even
·8· · · · your home?                                           ·8· · · · know what ash looks like.
·9· ·A.· ·Yes.                                                 ·9· ·Q.· ·I will just have --
10· ·Q.· ·In the inset in the upper right-hand corner, do      10· ·A.· ·Ash, like I had a fireplace going and there was
11· · · · recognize, is that the rear of your home in the      11· · · · ashes burning off?
12· · · · upper right-hand corner?                             12· ·Q.· ·Let me just ask you, obviously I understand the
13· ·A.· ·Yeah, it looks like it.                              13· · · · issues that you have with Exhibit 2, the
14· ·Q.· ·Is that a swimming pool?· Do you have a pool?        14· · · · declaration you did not sign.
15· ·A.· ·Yeah, the gazebo's on the deck.· That probably       15· ·A.· ·Yes.
16· · · · is my home, yeah.                                    16· ·Q.· ·When Anthony brought Exhibit 3, the one that you
17· ·Q.· ·How often do you use your swimming pool during       17· · · · did sign out in your driveway, you said he asked
18· · · · the summer?                                          18· · · · you some questions.· And you answered the
19· · · · · · · ·MR. ROBB:· I'm going to object to this        19· · · · questions and then you signed this.
20· · · · line of questioning.· It's going beyond the          20· · · · · · · ·Paragraph or point 2, point 2 of your
21· · · · scope of the allowed discovery, which is limited     21· · · · declaration of August 22, Exhibit 3, says, "I do
22· · · · to the way that these declarations were obtained     22· · · · not ever notice noxious odors at my home."
23· · · · and the truth of the declarations.                   23· · · · · · · ·Was that statement true in August 2022?
24· · · · · · · ·MR. OETHEIMER:· Right.· Right.                24· ·A.· ·Yeah.

                                                      79                                                                    81
·1· ·Q.· ·(By Mr. Oetheimer) One of the things your            ·1· ·Q.· ·Is it true today?

·2· · · · declaration says, Mr. Cooper, is that you enjoy      ·2· ·A.· ·Yeah.

·3· · · · numerous activities outside at your property.        ·3· ·Q.· ·So you stand by the statement that you do not

·4· · · · That's in the declaration you signed.· Are there     ·4· · · · ever notice noxious odors at your home, correct?

·5· · · · activities that you enjoy outside at your            ·5· · · · And that's been true for the whole 23 years you

·6· · · · property?                                            ·6· · · · have been there?· Is that statement true?

·7· ·A.· ·Outside of my property, like on my property?         ·7· ·A.· ·In the format that you are talking about, yes,

·8· ·Q.· ·I mean on your property, but outside of the          ·8· · · · that's true.

·9· · · · home.· Outdoors rather than indoors.                 ·9· · · · · · · ·We get plenty of skunks and that kind of

10· ·A.· ·Yeah.                                                10· · · · stuff.· That's a funny odor.

11· ·Q.· ·What types of activities?                            11· · · · · · · ·(Telephone interruption.)

12· ·A.· ·Taking the dog out, mostly the pool, and riding      12

13· · · · my motorcycle.                                       13· · · · · · · ·MR. OETHEIMER:· All right.· Back on the

14· ·Q.· ·Okay.· How often do you --                           14· · · · record.

15· ·A.· ·I don't ride it around here.                         15· ·Q.· ·(By Mr. Oetheimer) I think we have covered this,

16· ·Q.· ·How often do you and your wife use the pool in       16· · · · but have you ever experienced unusual amounts of

17· · · · the summer?                                          17· · · · dust or ash at your property?

18· ·A.· ·We use it quite a bit.· My nieces come over.· My     18· ·A.· ·How many times are you guys going to ask me this

19· · · · in-laws come over.· You know, it's basically         19· · · · stuff?

20· · · · used a lot because of my nieces.                     20· ·Q.· ·I guess this will be the last time.

21· ·Q.· ·Does your son have children?                         21· ·A.· ·Okay.· No.

22· ·A.· ·No, he does not.· He don't ever come over.           22· ·Q.· ·Just pollen, right?

23· ·Q.· ·But your family, nieces, the pool is used.· Has      23· ·A.· ·Pollen is everywhere.
                                                                    YVer1f




24· · · · anyone ever complained about experiencing            24· ·Q.· ·I understand.· I have a lot of it every spring.



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·1· · · · I have a lot of it on my driveway and car.              ·1· · · · · · · · · · CERTIFICATE

·2· ·A.· ·Pollen was a joke.· That's all pollen was, was a        ·2

·3· · · · joke.                                                   ·3
                                                                  ·4· · · · · · · ·I, JOHN COOPER, do hereby certify
·4· ·Q.· ·Do you experience any odors at your property
                                                                  · · ·that I have read the foregoing transcript of my
·5· · · · that you attribute to the Wheelabrator facility?
                                                                  ·5· ·testimony, and I further certify that said
·6· ·A.· ·Sorry.
                                                                  · · ·transcript is a true and accurate record of said
·7· ·Q.· ·Do you experience any odors or smells at your           ·6· ·testimony.
·8· · · · property that you think are coming from                 ·7
·9· · · · Wheelabrator?                                           · · · · · · Signed under the penalties of perjury

10· ·A.· ·No.                                                     ·8· ·this· · · · day of· · · · · · , 2022.

11· ·Q.· ·Do you experience any dust or ash or dirt at            ·9
                                                                  10
12· · · · your property that you think is coming from
                                                                  11
13· · · · Wheelabrator?
                                                                  12· · · · · · · · · · · · · · ·JOHN COOPER
14· ·A.· ·No.
                                                                  13
15· · · · · · · ·MR. OETHEIMER:· All right.
                                                                  14
16· · · · · · · ·THE WITNESS:· Did you say I'm here               15
17· · · · legally, I have to be here, Matt?                       16

18· · · · · · · ·MR. OETHEIMER:· Yes, they subpoenaed --          17

19· · · · · · · ·MR. ROBB:· You are here pursuant to              18
                                                                  19
20· · · · subpoena.· I don't have any problem with you
                                                                  20
21· · · · being excused at this point.
                                                                  21
22· · · · · · · ·I think there is a question because the
                                                                  22
23· · · · declarations both had the wrong address on them,
                                                                  23
24· · · · that you never saw the subpoena, and so                 24


                                                             83                                                                 85
·1· ·certainly I think that you have rights to say                ·1·      · · · · · · · · ·CERTIFICATE
                                                                  ·2
·2· ·it's not valid.
                                                                  ·3·      ·COMMONWEALTH OF MASSACHUSETTS )
·3· · · · · If you wish to be excused, I would be                 · ·      · · · · · · · · · · · · · · · ·)· ss.
                                                                  ·4·      ·COUNTY OF MIDDLESEX· · · · · ·)
·4· ·happy to excuse you, and I don't know if Richard
                                                                  ·5
·5· ·would have any objection at this point.                      · ·      · · · · · · ·I, Robert M. Bramanti, Registered
·6· · · · · MR. OETHEIMER:· I have no more questions.             ·6·      ·Merit Reporter and Notary Public within and for
                                                                  · ·      ·the Commonwealth of Massachusetts, do hereby
·7· ·So unless Matt has any more questions, you are               ·7·      ·certify:
·8· ·done.                                                        ·8·      · · · · · · ·That, JOHN COOPER, the witness whose
                                                                  · ·      ·deposition is hereinbefore set forth, was duly
·9· · · · · MR. ROBB:· I think we got everything that
                                                                  ·9·      ·sworn by me, and that the foregoing transcript
10· ·we possibly needed from you today and we are                 · ·      ·is a true record of the testimony given by such
                                                                  10·      ·witness.
11· ·grateful for you trying to help sort this
                                                                  11·      · · · · · · ·I further certify that I am not
12· ·problem out.                                                 · ·      ·related to any of the parties in this matter by
                                                                  12·      ·blood or marriage, and that I am in no way
13· · · · · MR. OETHEIMER:· Thank you.
                                                                  · ·      ·interested in the outcome of this matter.
14· · · · · (Deposition concluded 2:05 p.m.)                      13
15                                                                · ·      · · · · · · ·IN WITNESS WHEREOF, I have
                                                                  14·      ·hereunto set my hand and seal this· ·16th· ·day
16                                                                · ·      ·of· ·December· · · · 2022.
17                                                                15
                                                                  16
18                                                                17
19                                                                · ·      · · · · · · · · · · ·Notary Public
                                                                  18
20
                                                                  19
21                                                                · ·      ·My Commission expires:
                                                                  20·      ·September 9, 2027
22
                                                                  21
23                                                                22
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24
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· · · · · · · · ·JOHN COOPER· · · DATE




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